Case 19-20916-jrs      Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54           Desc Main
                                  Document     Page 1 of 64




                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                GAINESVILLE DIVISION

IN RE:
                                                           CHAPTER 11
SIGNATURE PACK, LLC,
                                                           CASE NO. 19-20916-JRS
            Debtor.

        MOTION OF THE DEBTOR FOR ENTRY OF ORDER PURSUANT TO
  11 U.S.C. §§ 105, 363, AND 365 APPROVING (A) ASSET PURCHASE AGREEMENT
         AND (B) SALE OF CERTAIN ASSETS TO VISIONARY FOODS LLC

       Signature Pack, LLC (“Debtor” or “Seller”) files this motion (the “Sale Motion”) for

entry of an order approving (i) that certain Asset Purchase Agreement as hereinafter described to

be used in connection with the proposed sale of certain assets comprising the part of Debtor’s

business involving the packing and sale of chicken wings as further defined in the Asset

Purchase Agreement (the “Wing Business” or the “Business”), and (ii) approving the sale by the

Debtor of the Assets, as defined below, to Visionary Foods, LLC (the “Buyer”). In support of

this Sale Motion, the Debtor respectfully show the Court as follows:

                                          Jurisdiction

       1.       This Court has jurisdiction over this Sale Motion pursuant to 28 U.S.C. §§ 157

and 1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2).

                                          Background

       2.       Debtor filed a voluntary petition for relief under Chapter 11 of the Bankruptcy

Code on June 5, 2019 (the “Petition Date”).
Case 19-20916-jrs      Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54             Desc Main
                                  Document     Page 2 of 64




        3.     Debtor has continued in possession of its property and has continued to operate

and manage its business as debtor-in-possession pursuant to Sections 1107(a) and 1108 of the

Bankruptcy Code.

        4.     Debtor has engaged the services of James B. Ardrey (“Advisor”), as approved by

the Court (Doc. No. 116), as its advisor to assist in the sales process. Advisor has contacted and

has been contacted by multiple interested parties since the Petition Date. Based on Debtor’s and

Advisor’s knowledge of the industry, Debtor and Advisor believe that they have solicited an

offer for the Assets, as defined below, from all of the individuals or entities who Debtor and

Advisor believe are likely to have interest in these assets. Debtor and Advisor believe the sale of

the Wing Business as contemplated in the Asset Purchase Agreement constitutes the best way to

maximize value of these assets for this Estate and Debtor’s creditors.

        6.     Accordingly, Debtor proposes to effectuate the sale of all of its assets involved in

its Wing Business (the “Sale”) which include, without limitation, all of Debtor’s direct and

indirect right, title and interest in and to the certain assets as defined in the Asset Purchase

Agreement (collectively, the “Assets”) for the Purchase Price of $1,750,000.00 (as further

described in the APA). Notwithstanding anything to the contrary herein, such Assets shall not

include the Excluded Assets, as defined in the APA.

        7.     Renasant Bank (“Renasant”) holds a first priority lien upon and security interest

in the Assets. Renasant asserts that, as of August 9, 2019, the total secured debt owed to

Renasant by Debtor was at least $1,358,578.82 (including all principal and interest). Debtor has

paid at least $392,013.64 to Renasant since the Petition Date on its secured debt and Debtor’s co-

obligors on said secured indebtedness have paid additional monies to Renasant since the Petition

Date.

                                                2
Case 19-20916-jrs      Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54             Desc Main
                                   Document     Page 3 of 64




       8.      The Debtor, in consultation with the Advisor and after contacting numerous

potential purchasers of the Wing Business, has determined that the Sale of the Assets to Buyer

pursuant to the Asset Purchase Agreement (“APA 1”) attached hereto as Exhibit A is the best

method for achieving the highest sale price for the Assets.

       9.      The Debtor believes that the proposed sale as provided in the APA (the “Proposed

Sale”) offers the best opportunity for the Debtor to maximize the value of the Business and the

Assets for the benefit of its estate following reasonable and appropriate marketing efforts and,

therefore, the Debtor believes that the Proposed Sale is in the best interests of the estate herein,

and should be approved.

                                        Relief Requested

       11.     By this Sale Motion, the Debtor requests that the Court enter an order approving

the Sale and making the following findings and determinations, among others, with respect to

such Sale:

               (i)     The APA and the transactions contemplated thereby are approved;

               (ii)    The Buyer shall have and acquire at the Closing good, valid and

       marketable title to the Assets and the Assets shall be sold and conveyed to Buyer free and

       clear of any and all liens, claims, encumbrances and other interests, except for any

       liabilities that may be assumed pursuant to the terms of the APA;

               (iii)   Debtor shall assume and assign to Buyer all of the Contracts designated by

       Buyer to be assigned to Buyer at Closing as of the date of Closing (such Contracts, the

       “Assigned Contracts”);


1
  Capitalized terms not otherwise defined herein shall have the meaning ascribed to the same in
the APA.
                                                 3
Case 19-20916-jrs    Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54            Desc Main
                                 Document     Page 4 of 64




             (iv)    Buyer shall, on or before the Closing, pay or otherwise satisfy the cure

      costs to the appropriate parties as ordered by the Court so as to permit the assumption and

      assignment of all Assigned Contracts;

             (v)     the Assigned Contracts shall be in full force and effect from and after the

      Closing with non-debtor parties being barred and enjoined from asserting against Buyer,

      among other things, defaults, breaches or claims of pecuniary losses existing as of the

      closing or by reason of the Closing;

             (vi)    Buyer is acquiring the Assets “as-is”;

             (vii)   Buyer shall be found to be a “good faith” purchaser within the meaning of

      Section 363(m) of the Bankruptcy Code; and

             (viii) the Court shall waive any stay that would otherwise be applicable to the

      immediate effectiveness of the Sale Order pursuant to Bankruptcy Rules 6004(h) and

      6006(d).

             (ix)    The transfer of the Assets is a transfer pursuant to Section 1146(c) of

      the Bankruptcy Code, and accordingly, the transfer of the Assets (including without

      limitation, both real and personal property) to Buyer does not and will not subject the

      Debtor or Buyer, their respective affiliates, or designees to any liability for any

      documentary, transfer, stamp, sales, use or similar tax or any so-called “bulk-sale,” to

      the fullest extent permitted by Section 1146(c) of the Bankruptcy Code. Each and

      every federal, state, and local government agency or department that was served with

      the Sale Motion or notice thereof is directed to accept any and all documents and

      instruments necessary and appropriate to consummate the transfer of any of the

      Assets, all without imposition or payment of any stamp tax, transfer tax, or similar

                                               4
Case 19-20916-jrs    Doc 154      Filed 01/14/20 Entered 01/14/20 17:10:54           Desc Main
                                  Document     Page 5 of 64




      tax.

             (x)     Notwithstanding anything to the contrary in the Sale Order or

      otherwise, and pursuant to the order authorizing the employment of James B. Ardrey

      (Doc. No. 116), Debtor shall be authorized to pay at Closing the $200,000 Sale

      Transaction Fee, (the “Ardrey Fee”) directly to Ardrey out of the gross proceeds of

      the Purchase Price.

             (xi)    Debtor shall be authorized to utilize the Sale Proceeds generated from the

      Purchase Price to pay obligations as follows:

                     (1) such amount as is necessary to pay off the Renasant secured claim;

                     (2) the Ardrey Fee;

                     (3) the amount necessary to pay off the JSO Settlement;

                     (4) Customary closing costs attributable to Debtor as seller; and

                     (5) All net proceeds remaining thereafter to be held in the IOLTA Trust

                          Account of Debtor’s counsel, Jones & Walden, LLC until further order

                          of the Court.

             (xii) Any monies collected or received by Debtor from the Excluded Assets,

             including the collection of any accounts receivable, shall be paid to the IOLTA

             Trust Account of Debtor’s counsel, Jones & Walden, LLC, for use in accordance

             with the terms of the Sale Order or until further order of the Court.

             (xiii) The following items may be paid from funds collected by Debtor or held in

             trust in Jones & Walden, LLC’s IOLTA Trust Account without further order of

             the Court:

                    (1)      Any quarterly fees due and payable to the United States Trustee;

                                               5
Case 19-20916-jrs      Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54              Desc Main
                                  Document     Page 6 of 64




                     (2)      Payroll for Debtor’s payroll obligations incurred prior to the

                              Closing and associated payroll taxes and benefits payments;

                     (3)      Any insurance that comes due regarding any Excluded Assets or

                              otherwise necessary for the winding down of Debtor’s operations,

                              or amounts owed for insurance prior to the Closing; and

                     (4)      The amounts reasonably necessary for retention or hiring persons

                              to finalize Debtor’s books and records and assist in the winddown

                              of Debtor’s finances and business subject to the maximum gross

                              amount of $2,500 per week for up to a total of $15,000.00,

                              inclusive of employee payroll obligations, plus the associated

                              amount of employer payroll obligations for such services.

                     (5)      Any amount necessary to destroy or dispose of any unusable or

                              unserviceable product.

                                           Argument

       12.     As stated above, Debtor believes that the Proposed Sale provides the Debtor with

its best opportunity to preserve and maximize the value of the Business and the Assets for the

benefit of its estate and, therefore, the Debtor believes that implementation of the Proposed Sale,

and approval of any Sale that is presented in accordance therewith, is in the best interests

of the Debtor’s creditors, employees, estates and other stakeholders. As such, the Debtor

submits that approval of this Sale Motion and the Proposed Sale is consistent with

applicable law and should be granted.

A.     Section 363(b) Authorizes the Proposed Sale and Sale Process.

       13.     Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that “[t]he

                                                6
Case 19-20916-jrs       Doc 154      Filed 01/14/20 Entered 01/14/20 17:10:54             Desc Main
                                     Document     Page 7 of 64




trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary course of

business, property of the estate.” 11 U.S.C. § 363(b)(1). Although Section 363 of the Bankruptcy

Code does not set forth a standard for determining when it is appropriate for a court to authorize

the sale or disposition of a debtor’s assets, in applying this section, courts have required that it be

based upon the sound business judgment of the debtor. See In re Chateaugay Corp., 973 F.2d 141

(2d Cir. 1992) (holding that a judge determining a § 363(b) application must find from the

evidence presented a good business reason to grant such application); In re Lionel Corp., 722

F.2d 1063, 1071 (2d Cir. 1983) (same); Stephens Indus. v. McClung, 789 F.2d 386, 390 (6th Cir.

1986) (holding that “bankruptcy court can authorize a sale of all of a chapter 11 debtor’s assets

under § 363(b)(1) when a sound business purpose dictates such action”); In re Delaware &

Hudson Ry. Co., 124 B.R. 169 (D. Del. 1991); In re Phoenix Steel Corp, 82 B.R. 334, 335-36

(Bankr. D. Del. 1987) (stating that judicial approval of a § 363 sale requires a showing that the

proposed sale is fair and equitable, a good business reason exists for completing the sale and that

the transaction is in good faith).

        14.     Debtor respectfully submits that the Proposed Sale fits squarely within the

parameters of the sound business judgment test articulated in the above-referenced authorities.

        15.     First and foremost, Debtor has articulated a sound business purpose for the

Proposed Sale. As set forth above, the Debtor, in order to monetize the Assets for distribution to

creditors, and based on Debtor’s and Advisor’s knowledge of the industry, have solicited

an offer for the Assets from all of the individuals or entities who Debtor and Advisor believe

are likely to have interest in these assets. The Proposed Sale represents the best offer Debtor

was able to procure based on these contacts and conversations.

        16.     Debtor respectfully submits that the Proposed Sale is adequate, fair and represents

                                                  7
Case 19-20916-jrs       Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                   Document     Page 8 of 64




the highest price for the Assets, which have already been marketed at length since the bankruptcy

filing through the efforts of the Advisor.

       17.     As in the case of Delaware & Hudson Ry. Co., the substantial solicitation and

marketing efforts of Debtor supports the proposed process and the reasonableness of the offer

presented by Buyer.

       18.     Debtor submits that the terms of the APA and the underlying proposed transaction

were negotiated and presented in good faith and at arm’s length. In connection therewith, the

Debtor will be prepared to present further evidence of good faith during the course of the Sale

Hearing that will satisfy this Court and the mandates of Section 363(m) of the Bankruptcy Code.

       19. Debtor intends to give notice of the Sale Hearing and the proposed sale by the

Debtor of the Assets, by mailing a copy of the Sale Motion (or Notice setting forth the terms of

the Sale Motion), within two business days, to (i) counsel to Renasant; (ii) all entities having

requested notices pursuant to Bankruptcy Rule 2002; (iii) the Office of United States Trustee for

the Northern District of Georgia; (iv) all non-debtor parties to the executory contracts and

unexpired leases to be assumed and assigned as part of the sale of the Business; and (vi) the

creditors listed on Debtor’s mailing matrix. (The persons listed in clauses (i) through (vi) are

referred to collectively as the “Notice Parties”). The Debtor submits that the foregoing is

sufficient notice of the Sale Hearing and the proposed sale by the Debtor of the Assets.

       20.     By this Sale Motion, the Debtor intends to sell the Wing Business in order to

monetize the Assets for distribution to its creditors. Debtor strongly believes that, in furtherance

of this goal, it has done all that is reasonably possible to secure the highest or best possible offer

for the Assets under the circumstances, and it believes that this sale must be consummated as

promptly as practicable in order to prevent any erosion in value of the Assets, and Buyer requires

                                                  8
Case 19-20916-jrs        Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54             Desc Main
                                     Document     Page 9 of 64




that an order authorizing the APA and Proposed Sale be entered by January 23, 2020, and the

closing of the Proposed Sale occur no later than January 31, 2020. For all of the foregoing

reasons, the relief requested in this Sale Motion is a product of sound business judgment and is in

the best interests of Debtor, its creditors, employees, estate and other stakeholders, and should be

granted.

       21.       Accordingly, Debtor submits that the Proposed Sale Process, and any Sale

presented in accordance therewith, is warranted and appropriate under the terms and provisions

of Section 363(b) of the Bankruptcy Code.

B.         Section 363(f) Authorizes the Sale Free and Clear of Liens and Other Claims.

       22.       Debtor requests that the sale and transfer of the Assets be approved free and clear

of all Liens, other than those specifically assumed by Buyer. Such relief is consistent with the

provisions of Section 363(f) of the Bankruptcy Code in this case.

       23.       Section 363(f) provides that a debtor-in-possession may sell property free and

clear of any lien, claim or interest of another entity in such property if any of the following

circumstances pertain:

                 (1)     applicable non-bankruptcy law permits sale of such property free and clear

                 of such interest;

                 (2)     such entity consents;

                 (3)     such interest is a lien and the price at which such property is to be sold is

                 greater than the aggregate value of all liens on such property;

                 (4)     such interest is in bona fide dispute; or

                 (5)     such entity could be compelled, in a legal or equitable proceeding, to

                 accept a money satisfaction of such interest.

                                                    9
Case 19-20916-jrs      Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54              Desc Main
                                  Document      Page 10 of 64




11 U.S.C. § 363(f).

       24.     As indicated by the use of the disjunctive term “or,” satisfaction of any one of the

five requirements listed in Section 363(f) is sufficient to permit the sale of assets free and clear

of liens. See In re Elliott, 94 B.R. 343, 345 (E.D. Pa. 1988) (stating that Section 363(f) is written

in the disjunctive; the court may approve a sale “free and clear” provided that at least one of the

subsections is met).

       25.     In this instance, the Debtor believes that Renasant is the only entity holding or

asserting a security interest in the Assets. Debtor shows that Renasant’s secured claim will be

paid in full at a closing of the APA, and Debtor anticipates that Renasant will consent to the

Proposed Sale. Accordingly, Bankruptcy Code Section 363(f)(2) will be satisfied.

       26.    Debtor is not aware of any additional potentially asserted secured claims that

would attach to the Assets.

       27.    Debtor is simultaneously filing a “Motion for Entry of Order Permitting Debtor to

Assume and Assign Trademark License Agreement Pursuant to 11 U.S.C. § 363” (the “TM

Motion”) seeking authority to assume and assign its Trademark Agreement with S.E. Meats, Inc.

as licensor and Debtor as licensee for the use of certain trademarks owned by S.E. Meats, Inc. to

Buyer at a closing of the APA. Debtor shows that it anticipates S.E. Meats, Inc. consenting to

such assignment.

       28.    Debtor is additionally simultaneously filing a Motion to Approve Settlement

Agreement With JSO2 (the “JSO Motion”) seeking approval of the JSO Settlement Agreement

regarding JSO’s claims against Debtor pursuant to the Perishable Agricultural Commodities Act

of 1930, 7 U.S.C.A. §499a et seq. (“PACA”).



                                                 10
Case 19-20916-jrs       Doc 154      Filed 01/14/20 Entered 01/14/20 17:10:54          Desc Main
                                    Document      Page 11 of 64




        29.    Accordingly, the requirements of Section 363(f) of the Bankruptcy Code can be

satisfied, and the sale of the Assets free and clear of all liens is appropriate.

C.      Buyer Should Be Afforded All Protections Under Bankruptcy Code Section 363(m)

        as a Good Faith Purchaser.

        30.     Section 363(m) of the Bankruptcy Code provides that “the reversal or

modification on appeal of an authorization under subsection (b) or (c) of this section of a sale or

lease of property does not affect the validity of a sale or lease under such authorization to an

entity that purchased or leased such property in good faith ...” 11 U.S.C. § 363(m).

        31.     As discussed above, the Proposed Sale is the result of an arm’s length negotiation

with Buyer after contacting numerous potential purchasers of the Wing Business. Accordingly,

the Debtor requests that Buyer be determined to have acted in good faith and be entitled to the

protections of a good faith purchaser under Section 363(m) of the Bankruptcy Code. See, e.g., In

re United Press Int’1. Inc., No. 91 B 13955 (FGC), 1992 U.S. Bankr. LEXIS 842, at *3 (Bankr.

S.D.N.Y. May 18, 1992). In this regard, Buyer is a party with which Debtor has negotiated at

arm’s length and in good faith and Buyer will not have any relationship to the Debtor that has not

been fully disclosed to the Court. 3

                                                Notice

        32.     This Sale Motion will be served, and further notice of the Sale Hearing and the

proposed sale by the Debtor of the Assets will be given, in accordance with the procedures set


2
 The JSO Motion seeks approval of the JSO Settlement as defined in the JSO Motion.
3
  Debtor discloses that Buyer has indicated it intends to continue a relationship with Charles
McAtee post-closing. The relationship and its details have not been finalized but may include an
equity component in Buyer. Charles McAtee currently serves as Debtor’s Corporate Manager
and oversees sales, interactions with customers, product development and day-to-day operations
of the business. Debtor is owned 100% by Signature Food Marketing, LLC. Charles McAtee
                                                   11
Case 19-20916-jrs      Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54            Desc Main
                                  Document      Page 12 of 64




forth above. The Debtor respectfully submit that such notice is sufficient and proper under the

circumstances, and that no other or further notice is required.

       WHEREFORE, based upon the foregoing, the Debtor respectfully requests that the Court

enter the Sale Order following the Sale Hearing, (a) authorizing the execution of the APA, (b)

approving the sale by the Debtor of the Assets to Buyer, (c) deeming order entered on this Sale

Motion effective immediately upon the date of such order, and (d) granting such other and

further relief as the Court deems just and proper. A proposed order granting the Sale Motion is

attached to the APA, and Debtor respectfully requests all relief stated in the proposed order.

       This 14th day of January 2020.

                                                      JONES & WALDEN, LLC
                                                      /s/ Leslie M. Pineyro
                                                      Leslie M. Pineyro
                                                      Georgia Bar No. 969800
                                                      Thomas T. McClendon
                                                      Georgia Bar No. 431452
                                                      Leon S. Jones
                                                      Georgia Bar No. 003980
                                                      Attorneys for Debtor
                                                      21 Eighth Street, NE
                                                      Atlanta, Georgia 30309
                                                      (404) 564-9300
                                                      lpineyro@joneswalden.com




owns 41.35% of Signature Food Marketing, LLC.
                                                 12
Case 19-20916-jrs   Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                              Document      Page 13 of 64




                         Exhibit “A”
Case 19-20916-jrs   Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                              Document      Page 14 of 64




                         ASSET PURCHASE AGREEMENT

                                        between

                          SIGNATURE PACK, LLC, seller

                                          and

                          VISIONARY FOODS, LLC., Buyer

                                      dated as of

                                    January 14, 2020
Case 19-20916-jrs        Doc 154      Filed 01/14/20 Entered 01/14/20 17:10:54                  Desc Main
                                     Document      Page 15 of 64


                                  ASSET PURCHASE AGREEMENT

       This Asset Purchase Agreement (this “Agreement”), dated as of January 14, 2020, is
entered into by and among Visionary Foods, LLC., a Arkansas limited liability company
(“Visionary” or “Buyer”), and Signature Pack, LLC, a Georgia limited liability company
(“Signature Pack” or “Seller”).

                                               RECITALS

         WHEREAS, Signature Pack’s business activities includes the business of selling, marketing and
distributing individually quick-frozen wings and other chicken parts (the “Wing Business” or the
“Business”);

        WHEREAS, Signature Food Marketing, LLC is the sole member of Signature Pack;

         WHEREAS, Signature Pack filed a Chapter 11 voluntary bankruptcy petition on May 9, 2019,
initiating Case No. 19-20916 pending in the Northern District of Georgia, Atlanta Division, in front of the
Hon. James R. Sacca; and

       WHEREAS, Seller wishes to sell and assign to Buyer, and Buyer wishes to purchase and assume
from Seller, certain of the assets of the Business, subject to the terms and conditions set forth herein; and

        NOW, THEREFORE, in consideration of the mutual covenants and agreements hereinafter set
forth and for other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the parties hereto agree as follows:

                                               ARTICLE I
                                              DEFINITIONS

        The following terms have the meanings specified or referred to in this ARTICLE I:

        “Action” and “Actions” mean any claim, action, cause of action, demand, lawsuit,
arbitration, inquiry, audit, notice of violation, proceeding, litigation, citation, summons, subpoena
or investigation of any nature, civil, criminal, administrative, regulatory or otherwise, whether at
law or in equity.

       “Affiliate” of a Person means any other Person that directly or indirectly, through one or
more intermediaries, controls, is controlled by, or is under common control with, such Person. The
term “control” (including the terms “controlled by” and “under common control with”) means the
possession, directly or indirectly, of the power to direct or cause the direction of the management
and policies of a Person, whether through the ownership of voting securities, by contract or
otherwise.

        “Agreement” has the meaning set forth in the preamble.

        “Allocation Schedule” has the meaning set forth in Section 2.06.




                                                     2
Case 19-20916-jrs       Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54          Desc Main
                                  Document      Page 16 of 64


      “Ancillary Documents” means the Bill of Sale, the Assignment and Assumption
Agreement, the Intellectual Property Assignment, the License Agreement and the other
agreements, instruments and documents required to be delivered at the Closing.

        “Assigned Contracts” has the meaning set forth in Section 2.01(d).

        “Assignment and Assumption Agreement” has the meaning set forth in Section 3.02(a)(ii).

        “Bankruptcy Court” means the Bankruptcy Court for the Northern District of Georgia.

       “Bankruptcy Court Sale Hearing” has means the hearing at which the Bankruptcy Court
having jurisdiction over the Bankruptcy Case will decide whether to approve of this Agreement.

        “Bankruptcy Case” means the Case No. 19-20916, concerning Signature Pack, pending
before the Bankruptcy Court for the Northern District of Georgia.

        “Bill of Sale” has the meaning set forth in Section 3.02(a)(i).

        “Business” has the meaning set forth in the recitals.

        “Business Day” means any day except Saturday, Sunday or any other day on which
commercial banks located in Atlanta, Georgia are authorized or required by Law to be closed for
business or a day recognized as a legal holiday by the District Court.

        “Buyer” has the meaning set forth in the preamble.

        “Buyer Indemnitees” has the meaning set forth in Section 7.01.

        “CERCLA” means the Comprehensive Environmental Response, Compensation, and
Liability Act of 1980, as amended by the Superfund Amendments and Reauthorization Act of
1986, 42 U.S.C. §§ 9601 et seq.

        “Closing” has the meaning set forth in Section 3.01.

        “Closing Date” has the meaning set forth in Section 3.01.

        “Closing Inventory” means the Inventory as of 12:01 am Eastern Time on the Closing
Date.

        “Code” means the Internal Revenue Code of 1986, as amended.

         “Contracts” means all contracts, leases, deeds, mortgages, licenses, instruments, notes,
commitments, undertakings, indentures, joint ventures and all other agreements, commitments and
legally binding arrangements, whether written or oral.

       “Disclosure Schedules” means the Disclosure Schedules delivered by Seller concurrently
with the execution and delivery of this Agreement and attached hereto as Exhibit “1”.

        “Dollars” or “$” means the lawful currency of the United States.

                                                  3
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54             Desc Main
                                   Document      Page 17 of 64


        “Encumbrance” and “Encumbrances” mean any charge, claim, community property
interest, pledge, condition, equitable interest, lien (statutory or other), option, security interest,
mortgage, easement, encroachment, right of way, right of first refusal, or restriction of any kind,
including any restriction on use, voting, transfer, receipt of income or exercise of any other
attribute of ownership.

        “Environmental Claim” means any Action, Governmental Order, lien, fine, penalty, or, as
to each, any settlement or judgment arising therefrom, by or from any Person alleging liability of
whatever kind or nature (including liability or responsibility for the costs of enforcement
proceedings, investigations, cleanup, governmental response, removal or remediation, natural
resources damages, property damages, personal injuries, medical monitoring, penalties,
contribution, indemnification and injunctive relief) arising out of, based on or resulting from: (a)
the presence, Release of, or exposure to, any Hazardous Materials; or (b) any actual or alleged
non-compliance with any Environmental Law or term or condition of any Environmental Permit.

        “Environmental Law” means any applicable Law, and any Governmental Order or binding
agreement with any Governmental Authority: (a) relating to pollution (or the cleanup thereof) or
the protection of natural resources, endangered or threatened species, human health or safety, or
the environment (including ambient air, soil, surface water or groundwater, or subsurface strata);
or (b) concerning the presence of, exposure to, or the management, manufacture, use, containment,
storage, recycling, reclamation, reuse, treatment, generation, discharge, transportation, processing,
production, disposal or remediation of any Hazardous Materials. The term “Environmental Law”
includes, without limitation, the following (including their implementing regulations and any state
analogs): CERCLA; the Solid Waste Disposal Act, as amended by the Resource Conservation and
Recovery Act of 1976, as amended by the Hazardous and Solid Waste Amendments of 1984, 42
U.S.C. §§ 6901 et seq.; the Federal Water Pollution Control Act of 1972, as amended by the Clean
Water Act of 1977, 33 U.S.C. §§ 1251 et seq.; the Toxic Substances Control Act of 1976, as
amended, 15 U.S.C. §§ 2601 et seq.; the Emergency Planning and Community Right-to-Know Act
of 1986, 42 U.S.C. §§ 11001 et seq.; the Clean Air Act of 1966, as amended by the Clean Air Act
Amendments of 1990, 42 U.S.C. §§ 7401 et seq.; and the Occupational Safety and Health Act of
1970, as amended, 29 U.S.C. §§ 651 et seq.

        “Environmental Notice” means any written directive, notice of violation or infraction, or
notice respecting any Environmental Claim relating to actual or alleged non-compliance with any
Environmental Law or any term or condition of any Environmental Permit.

       “Environmental Permit” means any Permit, letter, clearance, consent, waiver, closure,
exemption, decision or other action required under or issued, granted, given, authorized by or made
pursuant to Environmental Law.

       “Excluded Assets” has the meaning set forth in Section 2.02.

       “Excluded Contracts” has the meaning set forth in Section 2.02(b).

       “Excluded Liabilities” has the meaning set forth in Section 2.03.

       “Good Faith Deposit” shall mean $150,000.00.


                                                  4
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                   Document      Page 18 of 64


         “Governmental Authority” means any federal, state, local or foreign government or
political subdivision thereof, or any agency or instrumentality of such government or political
subdivision, or any self-regulated organization or other non-governmental regulatory authority or
quasi-governmental authority (to the extent that the rules, regulations or orders of such
organization or authority have the force of Law), or any arbitrator, court or tribunal of competent
jurisdiction.

       “Governmental Order” means any order, writ, judgment, injunction, decree, stipulation,
determination or award entered by or with any Governmental Authority.

        “Hazardous Materials” means: (a) any material, substance, chemical, waste, product,
derivative, compound, mixture, solid, liquid, mineral or gas, in each case, whether naturally
occurring or manmade, that is hazardous, acutely hazardous, toxic, or words of similar import or
regulatory effect under Environmental Laws; and (b) any petroleum or petroleum-derived
products, radon, radioactive materials or wastes, asbestos in any form, lead or lead-containing
materials, urea formaldehyde foam insulation and polychlorinated biphenyls.

          “Intellectual Property” means any and all rights associated with the Wing Business and
in, arising out of, or associated with any of the following in any jurisdiction throughout the world:
(a) issued patents and patent applications (whether provisional or non-provisional), including
divisionals, continuations, continuations-in-part, substitutions, reissues, reexaminations,
extensions, or restorations of any of the foregoing, and other Governmental Authority-issued
indicia of invention ownership (including certificates of invention, petty patents, and patent utility
models) (“Patents”); (b) trademarks, service marks, brands, certification marks, logos, trade dress,
trade names, and other similar indicia of source or origin, together with the goodwill connected
with the use of and symbolized by, and all registrations, applications for registration, and renewals
of, any of the foregoing (“Trademarks”); (c) copyrights and works of authorship, whether or not
copyrightable, and all registrations, applications for registration, and renewals of any of the
foregoing (“Copyrights”); (d) internet domain names and social media account or user names
(including “handles”), whether or not Trademarks, all associated web addresses, URLs, websites
and web pages, social media accounts and pages, and all content and data thereon or relating
thereto, whether or not Copyrights; (e) mask works, and all registrations, applications for
registration, and renewals thereof; (f) industrial designs, and all Patents, registrations, applications
for registration, and renewals thereof; (g) trade secrets, know-how, inventions (whether or not
patentable), discoveries, improvements, technology, business and technical information,
databases, data compilations and collections, tools, methods, processes, techniques, and other
confidential and proprietary information and all rights therein (“Trade Secrets”); (h) computer
programs, operating systems, applications, firmware and other code, including all source code,
object code, application programming interfaces, data files, databases, protocols, specifications,
and other documentation thereof; and (i) all other intellectual or industrial property and proprietary
rights.

       “Intellectual Property Assignment” has the meaning set forth in Section 3.02(a)(ii).

       “Intellectual Property Registrations” means all Purchased IP Assets that are subject to any
issuance, registration, or application by or with any Governmental Authority or authorized private



                                                   5
Case 19-20916-jrs       Doc 154      Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                    Document      Page 19 of 64


registrar in any jurisdiction, including issued Patents, registered Trademarks, domain names and
Copyrights, and pending applications for any of the foregoing.

        “Inventory” has the meaning set forth in Section 2.01(a).

      “Law” means any statute, law, ordinance, regulation, rule, code, order, constitution, treaty,
common law, judgment, decree, other requirement or rule of law of any Governmental Authority.

       “Liabilities” means liabilities, Actions, Taxes, obligations or commitments of any nature
whatsoever, asserted or unasserted, known or unknown, absolute or contingent, accrued or
unaccrued, matured or unmatured or otherwise.

       “Losses” means losses, damages, liabilities, deficiencies, Actions, judgments, interest,
awards, penalties, fines, costs or expenses of whatever kind, including reasonable attorneys’ fees
and the cost of enforcing any right to indemnification hereunder and the cost of pursuing any
insurance providers.

        “Material Adverse Effect” means, between the date of the execution of this Agreement
and the Closing Date, any event, occurrence, fact, condition or change that is, or could reasonably
be expected to become, individually or in the aggregate, materially adverse to (a) the business,
results of operations, condition (financial or otherwise) or assets of the Business, (b) the value of
the Purchased Assets, or (c) the ability of Seller to consummate the transactions contemplated
hereby on a timely basis; but excluding (x) the Bankruptcy Case or events incident thereto; (y) any
recalls or liability related to the Excluded Assets, or (z) cancelation of liability insurance by Seller.

      “Person” means an individual, corporation, partnership, joint venture, limited liability
company, Governmental Authority, unincorporated organization, trust, association or other entity.

        “Post-Closing Tax Period” means any taxable period beginning after the Closing Date
and, with respect to any taxable period beginning before and ending after the Closing Date, the
portion of such taxable period beginning after the Closing Date.

       “Pre-Closing Tax Period” means any taxable period ending on or before the Closing Date
and, with respect to any taxable period beginning before and ending after the Closing Date, the
portion of such taxable period ending on and including the Closing Date.

        “Purchase Price” has the meaning set forth in Section 2.04(a).

        “Purchased Assets” has the meaning set forth in Section 2.01.

        “Purchased IP Assets” has the meaning set forth in Section 2.01(d).

        “Purchaser Default Termination” shall have the meaning set forth in Section 2.04(b).

        “Release” means any actual or threatened release, spilling, leaking, pumping, pouring,
emitting, emptying, discharging, injecting, escaping, leaching, dumping, abandonment, disposing
or allowing to escape or migrate into or through the environment (including, without limitation,



                                                   6
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54             Desc Main
                                   Document      Page 20 of 64


ambient air (indoor or outdoor), surface water, groundwater, land surface or subsurface strata or
within any building, structure, facility or fixture).

      “Representative” means, with respect to any Person, any and all directors, officers,
employees, consultants, financial advisors, counsel, accountants and other agents of such Person.

        “Sale Order” means that certain order entered by the Bankruptcy Court having jurisdiction
over the Bankruptcy Case authorizing the sale of the Purchased Assets pursuant to the terms of
this Agreement, with such Sale Order being in substantially the form attached hereto as Exhibit
“2.”

       “Seller” has the meaning set forth in the preamble.

       “Seller Indemnitees” has the meaning set forth in Section 7.02.

       “Seller’s Knowledge” or any other similar knowledge qualification, means the actual or
constructive knowledge of Charles E. McAtee and Thomas R. Southworth, after due inquiry.

       “Signature Food Marketing” has the meaning set forth in the preamble.

       “Signature Pack” has the meaning set forth in the preamble.

       “Signature Select License Agreement” has the meaning set forth in Section 3.02(a)(iv).

       “Signature Select Trademark” means collectively “Signature Select”, Reg. No. 4769138
and “Signature Select”, Reg. No. 4610646, both of which are licensed under that certain Trademark
License Agreement dated as of November 16, 2018, by and between Southeast Meats and
Signature Pack.

        “Southeast Meats” means S.E. Meats, Inc., d/b/a Southeastern Meats, an Alabama
corporation.

        “Taxes” means all federal, state, local, foreign and other income, gross receipts, sales, use,
production, ad valorem, transfer, documentary, franchise, registration, profits, license, lease,
service, service use, withholding, payroll, employment, unemployment, estimated, excise,
severance, environmental, stamp, occupation, premium, property (real or personal), real property
gains, windfall profits, customs, duties or other taxes, fees, assessments or charges of any kind
whatsoever, together with any interest, additions or penalties with respect thereto and any interest
in respect of such additions or penalties.

        “Tax Return” means any return, declaration, report, claim for refund, information return
or statement or other document relating to Taxes, including any schedule or attachment thereto,
and including any amendment thereof.

        “Visionary” has the meaning set forth in the preamble.

        “Wing Business” has the meaning set forth in the recitals.



                                                  7
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                   Document      Page 21 of 64


                                            ARTICLE II
                                      PURCHASE AND SALE

        Section 2.01 Purchase and Sale of Assets. Subject to the terms and conditions set forth
herein, at the Closing, Seller shall sell, assign, transfer, convey and deliver to Buyer, and Buyer
shall purchase from Seller, free and clear of any Encumbrance, all of Seller’s right, title and interest
in, to and under the following assets, properties and rights of Seller that relate to, or are used or
held for use in connection with, the Business (collectively, the “Purchased Assets”):

              (a)      The assets of the Business, other than the Excluded Assets, including, but
       not limited to, all recipes, formulas, customer lists, and other assets necessary to support
       and conduct such business;

               (b)   All inventory associated with the Business, including, but not limited to,
       usable packaging and raw materials inventory, and finished goods inventory (“Inventory”);

               (c)   All machinery, equipment and fixtures listed on Schedules 2.01(c), all
       documentation related thereto, and in the event any such machinery, equipment or fixtures
       are leased by Seller, Seller shall cause such leases to be assigned to Buyer at Closing
       (“Assigned Leases”).

              (d)     all purchase orders with customers for product that has not shipped as of the
       Closing Date, as the same are set forth on Schedule 2.01(d) (the “Assigned Contracts”).
       Should Seller receive a payment from a customer (or its assigns) on or after the Closing
       Date on an Assigned Contract, then Seller shall promptly remit such payment to Buyer;
       should Buyer receive a payment from a customer (or its assigns) on or after the Closing
       Date that is not on an Assigned Contract, Buyer shall promptly remit such payment to
       Seller

               (e)     Intentionally Omitted. .

                (f)     the Intellectual Property of the Business set forth on Schedule 2.01(f),
       whether owned or licensed as indicated, (collectively, the “Purchased IP Assets”), together
       with all (i) royalties, fees, income, payments, and other proceeds accruing on or after the
       Closing Date with respect to such Purchased IP; (ii) with respect to such Purchased IP, all
       rights to and claims for damages, restitution, and injunctive and other legal or equitable
       relief for past, present, or future infringement, misappropriation, or other violation thereof,
       whether accruing before, on, or after the date hereof; and (iii) to the extent such Purchased
       IP is licensed (including but not limited to the Signature Select Trademark), all rights in or
       arising under Seller’s license of such Purchased IP, including all of Seller’s rights in the
       Signature Select Trademark as well as all of Seller’s rights in and to the Trademark License
       Agreement entered into between Seller and Southeast Meats;

               (g)     all of Seller’s rights under warranties, indemnities and all similar rights
       against third parties to the extent related to any Purchased Assets; and

               (h)     all goodwill and the going concern value of the Business.


                                                   8
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                   Document      Page 22 of 64


Within thirty (30) days following the Closing, Buyer shall have the right to elect to return to Seller
any of the Purchased Assets and rescind the purchase of the same. If Buyer so elects, Buyer will
provide Seller written notice of the same, and will specify which of the Purchased Assets that
Buyer is returning and rescinding the purchase of. Within ten (10) days of Seller’s receipt of such
notice, Seller will take possession from Buyer such rejected Purchased Assets, and in connection
with this return, Buyer and Seller will execute any appropriate documentation that is necessary to
memorialize Buyer’s return of such rejected Purchased Assets provided that no Purchase Price
adjustment shall occur based on the terms of this provision.

        Section 2.02 Excluded Assets. Other than the Purchased Assets set forth in Section 2.01,
Buyer expressly understands and agrees that it is not purchasing or acquiring, and Seller is not
selling or assigning, any other assets or properties of Seller, and all such other assets and properties
shall be excluded from the Purchased Assets (the “Excluded Assets”). Excluded Assets include
the following assets and properties of Seller:

               (a)     all cash and cash equivalents, bank accounts and securities of Seller;

               (b)   all accounts or notes receivable arising out of the Business, and any security,
       claim, remedy or other right related to any of the foregoing;

              (c)      all inventory, finished goods, raw materials, work in progress, packaging,
       supplies, parts and other inventories other than that used in the Wing Business;

              (d)     all Contracts that are not Assigned Contracts (the “Excluded Contracts”),
       including any employment Contracts;

               (e)     all leases that are not Assigned Leases (the “Excluded Leases”);

               (f)     all Intellectual Property of Seller other than the Purchased IP Assets;

               (g)   the corporate seals, organizational documents, minute books, stock books,
       Tax Returns, books of account or other records having to do with the corporate organization
       of Seller;

              (h)    all insurance policies of Seller and all rights to applicable claims and
       proceeds thereunder;

               (i)     all benefit plans of Seller and assets attributable thereto;

               (j)     the assets, properties and rights specifically set forth on Schedule 2.02(j);
       and

              (k)     the rights which accrue or will accrue to Seller under this Agreement and
       the Ancillary Documents.

       Section 2.03 Excluded Liabilities. Notwithstanding any other provision in this
Agreement to the contrary, Buyer shall not assume and shall not be responsible to pay, perform or
discharge any Liabilities of Seller or any of Seller’s Affiliates of any kind or nature whatsoever

                                                   9
Case 19-20916-jrs      Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54                Desc Main
                                  Document      Page 23 of 64


(the “Excluded Liabilities”). Without limiting the generality of the foregoing, the Excluded
Liabilities shall include, but not be limited to, the following:

               (a)     any Liabilities of Seller arising or incurred in connection with the
       negotiation, preparation, investigation and performance of this Agreement, the Ancillary
       Documents and the transactions contemplated hereby and thereby, including, without
       limitation, fees and expenses of counsel, accountants, consultants, advisers and others;

               (b)     any Liability for Taxes of Seller (or any member or Affiliate of Seller) or
       relating to the Business or the Purchased Assets for any Pre-Closing Tax Period;

              (c)     any Liabilities relating to or arising out of the Purchased Assets arising,
       occurring or accruing on or prior to the Closing Date;

              (d)     any Liabilities relating to or arising out of the Excluded Assets;

               (e)     any pending or threatened Action arising out of, relating to or otherwise in
       respect of the operation of the Business or the Purchased Assets to the extent such Action
       relates to such operation on or prior to the Closing Date, or relates to an act or omission
       arising, occurring or accruing on or prior to the Closing Date;

             (f)      any product Liability or similar claim for injury to a Person or property
       which arises out of or is based upon any express or implied representation, warranty,
       agreement or guaranty made by Seller, or by reason of the improper performance or
       malfunctioning of a product, improper design or manufacture, failure to adequately
       package, label or warn of hazards or other related product defects of any products at any
       time manufactured or sold or any service performed by Seller;

               (g)    any recall, design defect or similar claims of any products manufactured or
       sold or any service performed by Seller;

               (h)    any Liabilities of Seller arising under or in connection with any benefit plan
       of Seller providing benefits to any present or former employee of Seller;

               (i)     any Liabilities of Seller for any present or former employees, officers,
       directors, retirees, independent contractors or consultants of Seller, including, without
       limitation, any Liabilities associated with any claims for wages or other benefits, bonuses,
       accrued vacation, workers’ compensation, severance, retention, termination or other
       payments;

               (j)     any Environmental Claims, or Liabilities under Environmental Laws, to the
       extent arising out of or relating to facts, circumstances or conditions existing on or prior to
       the Closing or otherwise to the extent arising out of any actions or omissions of Seller;

              (k)     any trade accounts payable of Seller;

             (l)    any Liabilities of the Business relating or arising from unfulfilled
       commitments, quotations, purchase orders, customer orders or work orders that (i) do not

                                                 10
Case 19-20916-jrs     Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54              Desc Main
                                 Document      Page 24 of 64


      constitute part of the Purchased Assets issued by the Business’ customers to Seller on or
      before the Closing; (ii) did not arise in the ordinary course of business; or (iii) are not
      validly, expressly and effectively assigned to Buyer pursuant to this Agreement;

             (m)     any Liabilities to indemnify, reimburse or advance amounts to any present
      or former officer, director, employee or agent of Seller (including with respect to any
      breach of fiduciary obligations by same), except for indemnification of same pursuant to
      Section 7.02 as Seller Indemnitees;

             (n)     any Liabilities under any Excluded Contracts;

              (o)     any Liabilities under any Contracts which are not validly, expressly and
      effectively assumed and assigned to Buyer pursuant to this Agreement;

             (p)     any Liabilities under any Excluded Leases;

            (q)     any Liabilities for Seller’s failure to comply with the Worker Adjustment
      and Retraining Notification Act of 1988, or any state law requiring notice to Seller’s
      employees;

             (r)    any Liabilities associated with debt, loans or credit facilities of Seller and/or
      the Business owing to financial institutions; and

             (s)     any Liabilities arising out of, in respect of or in connection with the failure
      by Seller or any of its Affiliates to comply with any Law or Governmental Order.

      Section 2.04 Purchase Price.

              (a)     Provided all conditions, terms and contingencies set forth in this Agreement
      are fully met, Buyer will pay Seller the aggregate purchase price of $1,750,000.00 for the
      Purchased Assets (the “Purchase Price”). The Purchase Price, less the amount of the Good
      Faith Deposit, shall be paid by wire transfer of immediately available funds to an account
      of Seller designed by Seller in writing at least two Business Days prior to Closing. At least
      one Business Day prior to the Closing Date, Seller will provide Buyer with the filed Sale
      Order permitting the Seller’s sale and conveyance of the Purchased Assets free and clear
      of all Encumbrances, pursuant to 11 U.S.C. § 363(f).

              (b)     Deposit. Within one Business Day of the Execution Date, Buyer shall
      deposit into escrow with Jones & Walden, LLC in Jones & Walden’s IOLTA Trust
      Account an amount equal to one hundred fifty thousand dollars ($150,000.00) (such
      amount, the “Good Faith Deposit”). The Good Faith Deposit shall become payable to
      Seller upon the earlier of (a) the Closing, to be applied as a credit towards the Purchase
      Price, or (b) the proper termination of this Agreement by Seller pursuant to Section 9.1(e)
      (a “Purchaser Default Termination”). The Good Faith Deposit shall be returned to Buyer
      upon the termination of this Agreement other than pursuant to a Purchaser Default
      Termination.

      Section 2.05 Intentionally Omitted.

                                                11
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                   Document      Page 25 of 64




         Section 2.06 Allocation of Purchase Price. Seller and Buyer agree that the Purchase
Price (plus other relevant items) shall be allocated among the Purchased Assets for all purposes
(including Tax and financial accounting) as shown on the allocation schedule (the “Allocation
Schedule). A draft of the Allocation Schedule shall be prepared by Buyer and delivered to Seller
at least 3 business days prior to Bankruptcy Court Sale Hearing. If Seller notifies Buyer in writing
that Seller objects to one or more items in the Allocation Schedule, Seller and Buyer shall negotiate
in good faith to resolve such dispute. Buyer and Seller shall file all Tax Returns (including
amended returns and claims for refund) and information reports in a manner consistent with the
Allocation Schedule.

        Section 2.07 Third Party Consents. To the extent that Seller’s rights under any Contract
or Permit constituting a Purchased Asset, or any other Purchased Asset, may not be assigned to
Buyer without the consent of another Person which has not been obtained, this Agreement shall
not constitute an agreement to assign the same if an attempted assignment would constitute a
breach thereof or be unlawful, and Seller, at its expense, shall use its best efforts to obtain any such
required consent(s) as promptly as possible, which shall include filing motion(s) pursuant to 11
U.S.C. § 365 to assume and assign such contract(s). If any such consent or assignment shall not be
obtained or if any attempted assignment would be ineffective or would impair Buyer’s rights under
the Purchased Asset in question so that Buyer would not in effect acquire the benefit of all such
rights, Seller, to the maximum extent permitted by law and the Purchased Asset, shall act after the
Closing as Buyer’s agent in order to obtain for it the benefits thereunder and shall cooperate, to
the maximum extent permitted by Law and the Purchased Asset, with Buyer in any other
reasonable arrangement designed to provide such benefits to Buyer.

                                            ARTICLE III
                                              CLOSING

        Section 3.01 Closing. Subject to the terms and conditions of this Agreement, the
consummation of the transactions contemplated by this Agreement (the “Closing”) shall take place
remotely simultaneously on January 31, 2020, or at such other time, date or place as Seller and
Buyer may mutually agree upon in writing. The date on which the Closing is to occur is herein
referred to as the “Closing Date”. For accounting and computation purposes, the Closing will be
deemed to have occurred at 12:01 a.m. Eastern Time on the Closing Date.

       Section 3.02 Closing Deliverables.

               (a)     At the Closing, Seller shall deliver to Buyer the following:

                      (i)     a bill of sale in form and substance satisfactory to Buyer (the “Bill
               of Sale”), duly executed by Seller, transferring the tangible personal property
               included in the Purchased Assets to Buyer, free and clear of all Encumbrances;

                       (ii)   an assignment and assumption agreement in form and substance
               satisfactory to Buyer (the “Assignment and Assumption Agreement”), duly
               executed by Seller, effecting the assignment to and assumption by Buyer of the
               Purchased Assets, free and clear of all Encumbrances;

                                                  12
Case 19-20916-jrs    Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54             Desc Main
                                Document      Page 26 of 64


                    (iii)    an assignment in form and substance satisfactory to Buyer (the
            “Intellectual Property Assignment”), duly executed by Seller, transferring all of
            Seller’s right, title and interest in and to the Purchased IP Assets to Buyer, free and
            clear of all Encumbrances;

                    (iv)    a license agreement or assignment in form and substance
            satisfactory to Buyer in which Seller assigns to Buyer all of Seller’s rights in and
            under the Trademark Licesne Agreement between Seller and Southeast Meats (the
            “Signature Select License Agreement”), with such assignment duly executed by
            Seller and Southeast Meats and approved by the Bankruptcy Court;

                   (v)     a certified copy of the Sale Order by the Bankruptcy Court
            authorizing a sale of the Purchased Assets free and clear of all Encumbrances;

                    (vi)   a certificate of a manager of Seller certifying that attached thereto
            are true and complete copies of all resolutions adopted by the manager(s) and all
            members of Seller authorizing the execution, delivery and performance of this
            Agreement and the Ancillary Documents and the consummation of the transactions
            contemplated hereby and thereby, and that all such resolutions are in full force and
            effect and are all the resolutions adopted in connection with the transactions
            contemplated hereby and thereby;

                   (vii) a certificate of the manager(s) of Seller certifying the names and
            signatures of the officers of Seller authorized to sign this Agreement, the Ancillary
            Documents and the other documents to be delivered hereunder and thereunder; and

                   (viii) such other customary instruments of transfer, assumption, filings or
            documents, in form and substance reasonably satisfactory to Buyer, as may be
            required to give effect to this Agreement.

            (b)      At the Closing, Buyer shall deliver to Seller the following:

                  (i)     the Purchase Price (less the Good Faith Deposit) by wire transfer of
            immediately available funds to an account designated in writing by Seller to Buyer;

                     (ii)    the Assignment and Assumption Agreement, duly executed by
            Buyer;

                     (iii)   the Intellectual Property Assignment, duly executed by Buyer;

                     (iv)    the Signature Select License Agreement, duly executed by Buyer;

                    (v)    a certificate of a manager of Buyer certifying that attached thereto
            are true and complete copies of all resolutions adopted by the members of Buyer
            authorizing the execution, delivery and performance of this Agreement and the
            Ancillary Documents and the consummation of the transactions contemplated
            hereby and thereby, and that all such resolutions are in full force and effect and are


                                              13
Case 19-20916-jrs      Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54            Desc Main
                                 Document      Page 27 of 64


               all the resolutions adopted in connection with the transactions contemplated hereby
               and thereby; and

                      (vi)     a certificate of the manager of Buyer certifying the names and
               signatures of the officer of Buyer authorized to sign this Agreement, the Ancillary
               Documents and the other documents to be delivered hereunder and thereunder.

                      (vii) such other customary instruments of transfer, assumption, filings or
               documents, in form and substance reasonably satisfactory to Seller, as may be
               required to give effect to this Agreement.

       Section 3.03 Contingencies to Closing. The Buyer’s obligation to close on the purchase
of the Purchased Assets and to perform its other obligations set forth in this Agreement is
completely contingent on the following conditions being fully met by the Closing date:

       (1) Buyer entering into a lease agreement, in a form and substance satisfactory to Buyer,
           with Chow Time, LLC for the lease of certain real property located at 515 Commercial
           Drive, Stanham, Georgia, known as the “GCS Plant – Statham, Georgia”;

       (2) Receipt of the agreement and assignment, in a form and substance satisfactory to Buyer,
           of the Signature Select License Agreement, duly executed by Seller and Southeast
           Meats, and approval of such agreement and assignment by the Bankruptcy Court;

       (3) Entry by the Bankruptcy Court of the Sale Order and no stay of the Sale Order has been
           entered by Closing;

       (4) Receipt of the documents set forth in Section 3.02(a); and

       (5) The representations and warranties of Seller contained herein, including those
           representations and warranties set forth in Article IV, being accurate.

                                         ARTICLE IV
                   REPRESENTATIONS AND WARRANTIES OF SELLER

       Except as set forth in the correspondingly numbered Section of the Disclosure Schedules,
and after approval of the transactions contemplated hereunder by Bankruptcy Court and after
giving effect to the Sale Order, Seller represents and warrants to Seller as of the Execution Date
and as of the Closing Date as follows:

        Section 4.01 Organization and Standing. Seller is duly incorporated or organized, as
applicable, validly existing and in good standing under the Laws of the jurisdiction of its
incorporation and, except where the failure to obtain such qualification could not reasonably be
expected to have a Material Adverse Effect, is qualified or licensed to do business in each
jurisdiction in which the properties owned, leased or operated by Seller makes such qualification
necessary. Seller has all permits necessary to own and operate its properties and to carry on the
Business as now conducted by it, except such permits the failure of which to have would not be
reasonably expected to have a Material Adverse Effect.


                                               14
Case 19-20916-jrs      Doc 154      Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                   Document      Page 28 of 64


        Section 4.02 Authorization and Power. Subject to any necessary authorization from
the Bankruptcy Court, Seller has all requisite power and authority to carry on the Business as now
being conducted and to execute and deliver the Agreement and Ancillary Documents to which it
is a party and to perform its obligations thereunder. The Agreement and Ancillary Documents to
which Seller is a party have been duly executed and delivered by Seller, except such transaction
documents that are required by the terms hereof to be executed and delivered after the date hereof,
in which case the Agreement and Ancillary Documents will be duly executed and delivered at or
prior to the Closing, and, subject to any necessary authorization from the Bankruptcy Court, the
Agreement and Ancillary Documents to which Seller is a party constitute, or will constitute, as the
case may be, the valid and binding agreements of Seller, enforceable against Seller in accordance
with their terms.

        Section 4.03 Title to Assets. Subject to Bankruptcy Court approval, Seller has the power
and the right to sell, assign and transfer, and Seller will sell and deliver to Buyer, and Buyer will
be vested with good, valid, marketable title to, the Purchased Assets, free and clear of all
Encumbrances. Provided the parties acknowledge and agree that the Smokehouse Daddy™ has
not been federally registered, but Seller is not aware of any claims which have been or could be
asserted to the same, and for a period of 18-months following the Closing Seller will provide Buyer
good faith and reasonable assistance to federally register the Smokehouse Daddy™. Schedule 4.3
attached hereto lists all Contracts pursuant to which Seller leases tangible assets.

       Section 4.04 Conflicts; Consents.

                (a)     The execution, delivery and performance by Seller of this Agreement and
       the consummation of the transaction contemplated hereby, and compliance by Seller with
       any of the provisions hereof do not, or will not at the time of execution, result in the creation
       of any Encumbrances upon the Purchased Assets and do not, or will not at the time of
       execution, conflict with, or result in any violation of or default (with or without notice or
       lapse of time, or both) under, or give rise to a right of payment, termination, modification,
       acceleration or cancellation under any provisions of: (i) such Seller’s certificate of
       incorporation, bylaws or comparable organizational documents; (ii) subject to entry of the
       Sale Order, any Assumed Contract to which such Seller is a party or by which any of the
       Purchased Assets are bound; (iii) subject to entry of the Sale Order, any order, writ,
       injunction, judgment or decree of any Governmental Authority applicable to such Seller or
       any of the permits, licenses, rights, properties or assets of such Seller as of the date hereof;
       or (iv) subject to entry of the Sale Order, any applicable Law.

               (b)     Other than the entry of the Sale Order, no consent, waiver, approval, order,
       Permit or authorization of, or declaration or filing with, or notification to, any Person or
       Governmental Authority is required on the part of Seller in connection with the execution,
       delivery and performance of this Agreement or any other agreement, document or
       instrument contemplated hereby or thereby to which it is or will become a party, the
       compliance by such Seller with any of the provisions hereof or thereof, the consummation
       of the transactions contemplated hereby or thereby, or the sale, assignment or conveyance
       of the Purchased Assets.

       Section 4.05 Intentionally Omitted.

                                                  15
Case 19-20916-jrs      Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54              Desc Main
                                  Document      Page 29 of 64


       Section 4.06 Intentionally Omitted.

       Section 4.07 Closing Inventory. The location of all Closing Inventory as of the Business
Day prior to the date hereof is set forth on Schedule 4.7. None of the Closing Inventory consist of
items held on consignment. Seller has not received any payment with respect to products within
the Closing Inventory that have not been shipped as of the Closing Date.

        Section 4.08 Intellectual Property. Schedule 4.8(a) attached hereto sets forth all
registered and unregistered Purchased IP Assets (including registration applications) that Seller
owns or otherwise has the right to use in the operation of the Business as presently conducted. To
the Seller’s Knowledge, none of the activities or business presently conducted by the Seller
infringes or violates, or constitutes a misappropriation of, any Intellectual Property rights of any
Person. The Purchased IP Assets are not subject to any restrictions or limitations regarding use or
disclosure other than pursuant to a written license agreement set forth on Schedule 4.8(b) attached
hereto. Since December 31, 2018, Seller has not received any notification from any third party
alleging that Seller infringes any Intellectual Property of such third party. To the Knowledge of
Seller, no third party is infringing, misappropriating or otherwise conflicting with any of the
Purchased IP Assets.

         Section 4.09 Brokers. Other than James Ardrey, no broker, finder or investment banker
is entitled to any brokerage, finder’s or other fee or commission in connection with the transactions
contemplated by this Agreement or any Ancillary Document based upon arrangements made by
or on behalf of Seller. Seller will pay all fees, commissions and other amounts charged by or owed
to James Ardrey.

       Section 4.10 Complete Copies of Materials. Seller has delivered to Buyer complete
and accurate copies of each document that is referenced in the Disclosure Schedules.

       Section 4.11 Full Disclosure. No representation or warranty by Seller in this Agreement
and no statement contained in the Disclosure Schedules to this Agreement or any certificate or
other document furnished or to be furnished to Buyer pursuant to this Agreement contains any
untrue statement of a material fact, or omits to state a material fact necessary to make the
statements contained therein, in light of the circumstances in which they are made, not misleading.

       Section 4.12 Bankruptcy Court Sale Hearing. Seller shall use its reasonable efforts to
schedule hearings on and obtain the Bankruptcy Court’s entry of the Sale Order attached hereto as
Exhibit “2” on or before January 23, 2020.

                                           ARTICLE V
                     REPRESENTATIONS AND WARRANTIES OF BUYER

        Buyer represents and warrants to Seller that the statements contained in this ARTICLE V
are true and correct as of the date hereof.

       Section 5.01 Organization of Buyer. Buyer is a limited liability company duly
organized, validly existing and in good standing under the Laws of the State of Arkansas.



                                                 16
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                   Document      Page 30 of 64


        Section 5.02 Authority of Buyer. Buyer has full limited liability company power and
authority to enter into this Agreement and the Ancillary Documents to which Buyer is a party, to
carry out its obligations hereunder and thereunder and to consummate the transactions
contemplated hereby and thereby. The execution and delivery by Buyer of this Agreement and any
Ancillary Document to which Buyer is a party, the performance by Buyer of its obligations
hereunder and thereunder and the consummation by Buyer of the transactions contemplated hereby
and thereby have been duly authorized by all requisite limited liability company action on the part
of Buyer. This Agreement has been duly executed and delivered by Buyer, and (assuming due
authorization, execution and delivery by each other party hereto) this Agreement constitutes a
legal, valid and binding obligation of Buyer enforceable against Buyer in accordance with its
terms. When each Ancillary Document to which Buyer is or will be a party has been duly executed
and delivered by Buyer (assuming due authorization, execution and delivery by each other party
thereto), such Ancillary Document will constitute a legal and binding obligation of Buyer
enforceable against it in accordance with its terms.

         Section 5.03 No Conflicts; Consents. The execution, delivery and performance by
Buyer of this Agreement and the Ancillary Documents to which it is a party, and the consummation
of the transactions contemplated hereby and thereby, do not and will not: (a) conflict with or result
in a violation or breach of, or default under, any provision of the certificate of incorporation, by-
laws or other organizational documents of Buyer; (b) conflict with or result in a violation or breach
of any provision of any Law or Governmental Order applicable to Buyer; or (c) require the consent,
notice or other action by any Person under any Contract to which Buyer is a party. No consent,
approval, Permit, Governmental Order, declaration or filing with, or notice to, any Governmental
Authority is required by or with respect to Buyer in connection with the execution and delivery of
this Agreement and the Ancillary Documents and the consummation of the transactions
contemplated hereby and thereby.

        Section 5.04 Brokers. No broker, finder or investment banker is entitled to any
brokerage, finder’s or other fee or commission in connection with the transactions contemplated
by this Agreement or any Ancillary Document based upon arrangements made by or on behalf of
Buyer.

       Section 5.05 Legal Proceedings. There are no Actions pending or, to Buyer’s
knowledge, threatened against or by Buyer or any Affiliate of Buyer that challenge or seek to
prevent, enjoin or otherwise delay the transactions contemplated by this Agreement. No event has
occurred or circumstances exist that may give rise or serve as a basis for any such Action.

                                            ARTICLE VI
                                            COVENANTS

        Section 6.01 Confidentiality. From and after the Closing, Seller and Principals shall, and
shall cause their respective Affiliates to, hold, and shall use their respective reasonable best efforts
to cause its or their respective Representatives to hold, in confidence any and all information,
whether written or oral, concerning Seller or the Business, except to the extent that Seller can show
that such information (a) is generally available to and known by the public through no fault of
Seller, Principals, any of their respective Affiliates or their respective Representatives; or (b) is
lawfully acquired by Seller, Principals, any of their respective Affiliates or their respective


                                                  17
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                   Document      Page 31 of 64


Representatives from and after the Closing from sources which are not prohibited from disclosing
such information by a legal, contractual or fiduciary obligation. If Seller, Principals or any of their
respective Affiliates or their respective Representatives are compelled to disclose any information
by judicial or administrative process or by other requirements of Law, Seller and Principals shall
promptly notify Buyer in writing and shall disclose only that portion of such information which
Seller or a Principal is advised by its counsel in writing is legally required to be disclosed, provided
that Seller and Principals shall use reasonable best efforts to obtain an appropriate protective order
or other reasonable assurance that confidential treatment will be accorded such information.

       Section 6.02 Intentionally Omitted.

       Section 6.03 Intentionally Omitted.

       Section 6.04 Certain Covenants Regarding Tax Matters.

               (a)      Tax Returns.

                        (i)    Seller shall prepare and file, when due, Tax Returns for income,
               gross receipts and similar Taxes (including any business, professional and
               occupational license Taxes or similar Taxes) required to be filed with respect to the
               Business or the Purchased Assets for Pre-Closing Tax Periods. Seller shall be fully
               liable for the payment of all such Taxes. Such Tax Returns shall be prepared in a
               manner consistent with the past practices, unless otherwise required by applicable
               Law. Seller shall provide Buyer with reasonable opportunity to review and
               comment on each such Tax Return described in the preceding sentence prior to
               filing, and shall make changes to such Tax Returns reasonably requested by Buyer
               to ensure that such Tax Returns are consistent with the terms of this Agreement.

                       (ii)    Buyer shall prepare and file, when due, Tax Returns with respect to
               the Business or the Purchased Assets for any Post-Closing Tax. Such Tax Returns
               shall be prepared in a manner consistent with the past practices, unless otherwise
               required by applicable Law. To the extent that the Tax Returns filed by Buyer relate
               to a Pre-Closing Tax Period, Buyer shall provide Seller with a reasonable
               opportunity to review and comment on each such Tax Return prior to filing. Seller
               shall reimburse Buyer for Taxes attributable to a Pre-Closing Tax Period for such
               returns no later than 30 days following a written request for payment thereof.

               (b)     Cooperation on Tax Matters. Buyer and Seller shall cooperate fully, as and
       to the extent reasonably requested by one another, in connection with the filing of Tax
       Returns pursuant to Section 6.04(a) and any audit, litigation or other proceeding with
       respect to Taxes. Such cooperation shall include retaining and, upon the other party’s
       request, providing, records and information which are reasonably relevant to any such
       audit, litigation or other proceeding and making employees available on a mutually
       convenient basis to provide additional information and explanation of any material
       provided hereunder. Seller shall (a) retain all books and records with respect to Tax matters
       pertinent to Seller relating to any taxable period beginning before the Closing Date until
       the expiration of the statute of limitations (and, to the extent notified by Buyer, any


                                                  18
Case 19-20916-jrs      Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54              Desc Main
                                  Document      Page 32 of 64


       extensions thereof) of the respective taxable periods and abide by all record retention
       agreements entered into with any Governmental Authority and (b) give Buyer written
       notice prior to transferring, destroying or discarding any such books and records and, if
       Buyer so requests, Seller shall allow Buyer to take possession of such books and records.
       Buyer and Seller further agree, upon request, to cooperate in good faith to mitigate, reduce
       or eliminate any Tax that could be imposed by the transactions contemplated hereby. In
       addition, Buyer and Seller agree to cooperate in good faith in obtaining any certificate or
       other document from any Governmental Authority or any other Person as may be necessary
       to mitigate, reduce or eliminate any Tax that could be imposed by the transactions
       contemplated hereby.

        Section 6.05 Further Assurances. Following the Closing, each of the parties hereto
shall, and shall cause their respective Affiliates to, execute and deliver such additional documents,
instruments, conveyances and assurances and take such further actions as may be reasonably
required to carry out the provisions hereof and give effect to the transactions contemplated by this
Agreement and the Ancillary Documents.

                                          ARTICLE VII
                                       INDEMNIFICATION

        Section 7.01 Indemnification By Seller. Subject to the other terms and conditions of
this ARTICLE VII, Seller shall indemnify and defend each of Buyer and its Affiliates and their
respective Representatives (collectively, the “Buyer Indemnitees”) against, and shall hold each of
them harmless from and against, and shall pay and reimburse each of them for, any and all Losses
incurred or sustained by, or imposed upon, the Buyer Indemnitees based upon, arising out of, with
respect to or by reason of any breach of this Agreement by Seller, or on account of fraudulent,
criminal or intentional misconduct on behalf of Seller.

        Section 7.02 Indemnification By Buyer. Subject to the other terms and conditions of
this ARTICLE VII, Buyer shall indemnify and defend each of Seller and its Affiliates and their
respective Representatives (collectively, the “Seller Indemnitees”) against, and shall hold each of
them harmless from and against, and shall pay and reimburse each of them for, any and all Losses
incurred or sustained by, or imposed upon, the Seller Indemnitees based upon, arising out of, with
respect to or by reason of any breach of this Agreement by Buyer, or on account of fraudulent,
criminal or intentional misconduct on behalf of Buyer.

                                         ARTICLE VIII
                                        MISCELLANEOUS

        Section 8.01 Expenses. Except as otherwise expressly provided herein, all costs and
expenses, including, without limitation, fees and disbursements of counsel, financial advisors and
accountants, incurred in connection with this Agreement and the transactions contemplated hereby
shall be paid by the party incurring such costs and expenses, whether or not the Closing shall have
occurred.

        Section 8.02 Notices. All notices, requests, consents, claims, demands, waivers and other
communications hereunder shall be in writing and shall be deemed to have been given (a) when
delivered by hand (with written confirmation of receipt); (b) when received by the addressee if

                                                 19
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54              Desc Main
                                   Document      Page 33 of 64


sent by a nationally recognized overnight courier (receipt requested); or (c) on the date sent by e-
mail (with confirmation of transmission). Such communications must be sent to the respective
parties at the following addresses (or at such other address for a party as shall be specified in a
notice given in accordance with this Section 8.02):

 If to Seller:                                Signature Pack, LLC
                                              5786 Highway 129 North, Suite N
                                              Pendergrass, Georgia 30567
                                              E-mail: chuck@signaturefood.com
                                              Attention:    Chuck McAtee



 with a copy to:                              Jones & Walden, LLC
                                              21 Eighth Street, NE
                                              Atlanta, Georgia 30303
                                              Facsimile:     (404) 564-9301
                                              E-mail: lpineyro@joneswalden.com
                                              Attention:     Leslie Pineyro, Esq.

                                              and

                                              James Ardrey
                                              jardrey58@gmail.com

 If to Buyer:                                 Conner & Winters
                                              4375 N. Vantage Drive, Suite 405
                                              Fayetteville, AR 72703
                                              E-mail:        tlewis@cwlaw.com
                                              Attention:     Todd P. Lewis, Esq.


        Section 8.03 Interpretation. For purposes of this Agreement, (a) the words “include,”
“includes” and “including” shall be deemed to be followed by the words “without limitation”; (b)
the word “or” is not exclusive; and (c) the words “herein,” “hereof,” “hereby,” “hereto” and
“hereunder” refer to this Agreement as a whole. This Agreement shall be construed without regard
to any presumption or rule requiring construction or interpretation against the party drafting an
instrument or causing any instrument to be drafted. The Disclosure Schedules and Exhibits referred
to herein shall be construed with, and as an integral part of, this Agreement to the same extent as
if they were set forth verbatim herein.

        Section 8.04 Headings. The headings in this Agreement are for reference only and shall
not affect the interpretation of this Agreement.

       Section 8.05 Severability. If any term or provision of this Agreement is invalid, illegal
or unenforceable in any jurisdiction, such invalidity, illegality or unenforceability shall not affect


                                                 20
Case 19-20916-jrs      Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54              Desc Main
                                  Document      Page 34 of 64


any other term or provision of this Agreement or invalidate or render unenforceable such term or
provision in any other jurisdiction.

        Section 8.06 Entire Agreement. This Agreement and the Ancillary Documents
constitute the sole and entire agreement of the parties to this Agreement with respect to the subject
matter contained herein and therein, and supersede all prior and contemporaneous understandings
and agreements, both written and oral, with respect to such subject matter. In the event of any
inconsistency between the statements in the body of this Agreement and those in the Ancillary
Documents, the Exhibits, Schedules and Disclosure Schedules (other than an exception expressly
set forth as such in the Disclosure Schedules), the statements in the body of this Agreement will
control.

        Section 8.07 Successors and Assigns. This Agreement shall be binding upon and shall
inure to the benefit of the parties hereto and their respective successors and permitted assigns.
Neither party may assign its rights or obligations hereunder without the prior written consent of
the other party, which consent shall not be unreasonably withheld or delayed. No assignment shall
relieve the assigning party of any of its obligations hereunder.

        Section 8.08 No Third-party Beneficiaries. Except as provided in ARTICLE VII, this
Agreement is for the sole benefit of the parties hereto and their respective successors and permitted
assigns and nothing herein, express or implied, is intended to or shall confer upon any other Person
or entity any legal or equitable right, benefit or remedy of any nature whatsoever under or by
reason of this Agreement.

        Section 8.09 Amendment and Modification; Waiver. This Agreement may only be
amended, modified or supplemented by an agreement in writing signed by each party hereto. No
waiver by any party of any of the provisions hereof shall be effective unless explicitly set forth in
writing and signed by the party so waiving. No waiver by any party shall operate or be construed
as a waiver in respect of any failure, breach or default not expressly identified by such written
waiver, whether of a similar or different character, and whether occurring before or after that
waiver. No failure to exercise, or delay in exercising, any right, remedy, power or privilege arising
from this Agreement shall operate or be construed as a waiver thereof; nor shall any single or
partial exercise of any right, remedy, power or privilege hereunder preclude any other or further
exercise thereof or the exercise of any other right, remedy, power or privilege.

       Section 8.10 Governing Law; Submission to Jurisdiction; Waiver of Jury Trial.

               (a)    This Agreement shall be governed by and construed in accordance with the
       internal laws of the State of Georgia without giving effect to any choice or conflict of law
       provision or rule (whether of the State of Georgia or any other jurisdiction).

             (b)  ANY LEGAL SUIT, ACTION OR PROCEEDING ARISING OUT OF OR
       BASED UPON THIS AGREEMENT, THE ANCILLARY DOCUMENTS OR THE
       TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY SHALL BE
       INSTITUTED IN THE BANKRUPTCY COURT, OR, IF THE BANKRUPTCY COURT
       IS FOUND TO LACK JURISDICION, IN THE FEDERAL COURT OF THE UNITED
       STATES OF AMERICA LOCATED IN THE CITY OF ATLANTA, AND EACH


                                                 21
Case 19-20916-jrs      Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54              Desc Main
                                  Document      Page 35 of 64


       PARTY IRREVOCABLY SUBMITS TO THE EXCLUSIVE JURISDICTION OF SUCH
       COURTS IN ANY SUCH SUIT, ACTION OR PROCEEDING. THE PARTIES
       IRREVOCABLY AND UNCONDITIONALLY WAIVE ANY OBJECTION TO THE
       LAYING OF VENUE OF ANY SUIT, ACTION OR ANY PROCEEDING IN SUCH
       COURTS AND IRREVOCABLY WAIVE AND AGREE NOT TO PLEAD OR CLAIM
       IN ANY SUCH COURT THAT ANY SUCH SUIT, ACTION OR PROCEEDING
       BROUGHT IN ANY SUCH COURT HAS BEEN BROUGHT IN AN INCONVENIENT
       FORUM.

        Section 8.11 Remedies. (a) By Buyer: In the event Seller is not in breach of any term,
representation, warranty, covenant or other agreement contained herein, the Sale Order has been
entered by January 23, 2020, that fully authorizes Seller to Close on the terms and conditions set
forth in this Agreement, and Seller is ready, willing and able to proceed to Closing, but Buyer
refuses to proceed to Closing by the Closing Date (and such Closing Date has not otherwise been
extended by the mutual written agreement of Buyer and Seller), then Buyer shall be in breach of
this Agreement. Seller’s sole remedy for such breach is to retain the Good Faith Deposit. (a) By
Seller: In the event Buyer is not in breach of any term, representation, warranty, covenant or other
agreement contained herein, the Sale Order has been entered by January 23, 2020, that fully
authorizes Seller to Close on the terms and conditions set forth in this Agreement, and Buyer is
ready, willing and able to proceed to Closing, but Seller refuses to proceed to Closing by the
Closing Date (and such Closing Date has not otherwise been extended by the mutual written
agreement of Buyer and Seller), then Seller shall be in breach of this Agreement. Buyer’s remedy
for such breach shall either be, in Buyer’s discretion: (i) to accept the return of the Good Faith
Deposit; or (ii) to seek specific performance of this Agreement by Seller.

        Section 8.12 Counterparts. This Agreement may be executed in counterparts, each of
which shall be deemed an original, but all of which together shall be deemed to be one and the
same agreement. A signed copy of this Agreement delivered by facsimile, e-mail or other means
of electronic transmission shall be deemed to have the same legal effect as delivery of an original
signed copy of this Agreement

         Section 8.13 The parties hereto agree that the representations and warranties contained
in this Agreement shall not survive the Closing hereunder, and none of the parties shall have any
liability to each other after the Closing for any breach thereof. Except as otherwise provided
herein, the Purchased Assets are being sold “as is, where is.” The parties hereto agree that the
obligations contained in this Agreement to be performed after the Closing shall survive the
Closing, and each party hereto shall be liable to the other after the Closing for any breach thereof.

                                          ARTICLE IX

        Section 9.01 Termination. This Agreement may be terminated in writing and to the
Parties at the address listed above prior to the Closing upon the occurrence of any of the
following:

               (a)     by mutual written agreement of Buyer and Seller;



                                                 22
Case 19-20916-jrs     Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54              Desc Main
                                Document      Page 36 of 64


              (b)    automatically and without any action or notice by Seller to Buyer, or
      Buyer to Seller, and immediately upon the entry thereof, if there shall be in effect a Final
      Order restraining, enjoining or otherwise prohibiting the consummation of the
      transactions contemplated under this Agreement;

             (c)     by Buyer, if, prior to the Closing the Chapter 11 Case shall have been
      converted to a case under chapter 7 of the Bankruptcy Code or dismissed;

             (d)     by Buyer, if Closing has not occurred by January 31, 2020;

             (e)    by Seller (provided that Seller is not in breach of any term,
      representation, warranty, covenant or other agreement contained herein) if the Sale
      Order has been entered by January 23, 2020, that fully authorizes Seller to Close on
      the terms and conditions set forth in this Agreement, and all contingencies and
      conditions of Seller set forth have been fully met, and further Seller is ready, willing
      and able to proceed to Closing, but Buyer refuses to proceed to Closing by January
      31, 2020 (which for purposes of this Agreement is the “Purchaser Default
      Termination”); or

              (f)     If the Sale Order is not entered by January 23, 2020, or at such other
      time, date or place as Seller and Buyer may mutually agree.

                              [SIGNATURE PAGE FOLLOWS]




                                               23
Case 19-20916-jrs   Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                              Document      Page 37 of 64




                                                              Scanned by CamScanner
Case 19-20916-jrs   Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                              Document      Page 38 of 64




                          Exhibit “1” follows
Case 19-20916-jrs     Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54        Desc Main
                                 Document      Page 39 of 64


                                  Schedule 2.01(c)
                         Machinery, Equipment, and Fixtures

                                                             Date in
                   Asset                      Location        service        Book Value
 Wall Panels for Marination Project       Pendergrass, GA   12/20/2016   $        1,321.60
 Videojet DATAFLEX PRINTER                Pendergrass, GA     9/1/2018   $        9,832.09
 VFFS Gusset Attach                       Pendergrass, GA   12/31/2009   $              -
 Stainless Steel Tables (4)               Pendergrass, GA    10/9/2006   $              -
 Stainless Steel Infeed hopper            Pendergrass, GA    12/1/2015   $         167.75
 Glazing Belt                             Pendergrass, GA   12/31/2009   $              -
 2009 Freight Liner                       Pendergrass, GA     3/1/2017   $        1,865.88
 VFFS Access                              Pendergrass, GA     4/1/2010   $              -
 vacuum pump                              Pendergrass, GA    12/1/2018   $        1,872.80
 Used L-Bar Sealer                        Pendergrass, GA     2/1/2011   $              -
 UltraCAT 210 Injector                    Pendergrass, GA   12/20/2016   $      66,316.96
 Tunnel Walkway                           Pendergrass, GA     3/1/2015   $         157.04
 Toyota HPT25 Pallet Jack                 Pendergrass, GA    12/1/2015   $           32.00
 Tape Machine                             Pendergrass, GA     9/1/2017   $           55.00
 Tables & Wicket Stands                   Pendergrass, GA    12/1/2005   $              -
 Starflex VFFS                            Pendergrass, GA    12/1/2008   $              -
 Stand For Freon Unit                     Pendergrass, GA   12/20/2016   $        5,852.40
 SS Vibratory pan                         Pendergrass, GA    12/1/2015   $           93.50
 sanitary pipe to go from marination to
 ice glazer tank                          Pendergrass, GA     3/1/2017   $         344.90
 Rolling Ladder                           Pendergrass, GA    12/1/2016   $         436.32
 Portable Offices (2)                     Pendergrass, GA    12/1/2006   $             -
 Plant Offices                            Pendergrass, GA     6/1/2015   $        2,234.49
 Plant Office Furniture                   Pendergrass, GA     9/1/2015   $             -
 Plant Office                             Pendergrass, GA     6/1/2010   $             -
 Piping for Marination Project            Pendergrass, GA   12/20/2016   $        5,768.98
 panels, extruded aluminum angle for
 Room 3 Air unit shielding                Pendergrass, GA     6/1/2017   $         775.00
 Mezzanine for Mixing Tanks               Pendergrass, GA   12/20/2016   $       10,512.19
 Mezzanine Flooring                       Pendergrass, GA    12/1/2017   $        3,639.66
 Metal Detector                           Pendergrass, GA     4/1/2014   $             -
 Marination Heat Exchanger                Pendergrass, GA   12/20/2016   $        9,198.00
 Interpak USA2024sb Case Taper            Pendergrass, GA    12/1/2015   $         829.00
 Image Printers                           Pendergrass, GA     9/1/2017   $        3,300.00
 Hydraulic Tote Dumper                    Pendergrass, GA    12/1/2015   $         215.75


                                              1
Case 19-20916-jrs    Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                               Document      Page 40 of 64


 Fortress phantom Metal Detector 8x4
 Aperature                              Pendergrass, GA    12/1/2015   $     116.00
 Exhaust Fans for Marination Project    Pendergrass, GA   12/20/2016   $     775.20
 Drake Freon Unit                       Pendergrass, GA   12/20/2016   $   28,560.00
 Cat Duel Tank 200 Gallon Mixing
 Tank & 300 Gallon Chiiling System      Pendergrass, GA   12/20/2016   $   27,777.60
 Band Rite #3                           Pendergrass, GA     7/1/2007   $         -
 2011 Fortress phantom Metal Detector   Pendergrass, GA    12/1/2015   $    1,979.00
 2 Yamato 0/16L-S W/A RECOND.
 SERIAL #'S AFK807530N                  Pendergrass, GA     3/1/2017   $     606.46




                                            2
Case 19-20916-jrs   Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                              Document      Page 41 of 64


                                Schedule 2.01(d)
                              Open Purchase Orders

                    [to be provided one business day before Closing]




                                           3
Case 19-20916-jrs   Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                              Document      Page 42 of 64


                               Schedule 2.01(e)
                    Contracts to Be Assumed and Assigned

                                        None.




                                          4
Case 19-20916-jrs     Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54         Desc Main
                                Document      Page 43 of 64


                                    Schedule 2.01(f)
                                  Purchased IP Assets

 SIGNATURE SELECT, Reg. No. 4769138 (as licensed to use for IQF chicken wings and other
  chicken parts in packages no smaller than 2.5 lbs) (owned by and licensed from Southeastern
                                            Meats).
 SIGNATURE SELECT, Reg. No. 4610646 (as licensed to use for IQF chicken wings and other
  chicken parts in packages no smaller than 2.5 lbs) (owned by and licensed from Southeastern
                                            Meats).
SMOKEHOUSE DADDY, a common-law, unregistered trademark (application pending with the
                United States Patent and Trademark Office)




                                              5
Case 19-20916-jrs     Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                                 Document      Page 44 of 64


                                      Schedule 2.02(j)
                                      Excluded Assets
                    Wicket Stands                          Pendergrass, GA
                    Walkie Talkies                         Pendergrass, GA
                    Stainless Steel Tables (2)             Pendergrass, GA
                    Used Tray Pack sealer                  Pendergrass, GA
                    Used Scales from Fresh Frozen          Pendergrass, GA
                    Slider Room Additions                  Pendergrass, GA
                    Security Camera System                 Pendergrass, GA
                    Scales 20 lb. (8)                      Pendergrass, GA
                    Room 4 - Slider Production             Pendergrass, GA
                    Room 3 Improvements                    Pendergrass, GA
                    Racks - Room 3                         Pendergrass, GA
                    Plant Radio's (4)                      Pendergrass, GA
                    Parts Storage Room                     Pendergrass, GA
                    pallet truck & scale                   Pendergrass, GA
                    Pallet Jack                            Pendergrass, GA
                    Multivac Vacuum Sealer                 Pendergrass, GA
                    Leased Forklifts - Capital             Pendergrass, GA
                    Industrial Fans Direct - Air Curtain   Pendergrass, GA
                    HP Laserjet Pro M521dn Jerry on
                    Dock                                   Pendergrass, GA
                    Hand Wash Sink                         Pendergrass, GA
                    Hand Scales                            Pendergrass, GA
                    Fire conveyor #2                       Pendergrass, GA
                    Fire conveyor #1                       Pendergrass, GA
                    Exhaust Fans and Air Curtain           Pendergrass, GA
                    Used PFM Flow Wrapper                  Pendergrass, GA
                    Slider Feed Table #2                   Pendergrass, GA
                    2011 Fortress phantom Metal
                    Detector                               Pendergrass, GA
                    2011 Fortress phantom Metal
                    Detector                               Pendergrass, GA
                    Dry Warehouse Racking                  Pendergrass, GA
                    Conveyor #2                            Pendergrass, GA
                    Conveyor                               Pendergrass, GA
                    Case sealer                            Pendergrass, GA
                    Used Flowwrapper #3                    Pendergrass, GA
                    Leased Cartoner #2                     Pendergrass, GA
                    Cartoner Conversion                    Pendergrass, GA

                                                6
Case 19-20916-jrs     Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                                 Document      Page 45 of 64


                    Baldor Motor                     Pendergrass, GA
                    20 lb. Scales (4)                Pendergrass, GA
                    (4) 20 lb. Scales                Pendergrass, GA




                                             7
Case 19-20916-jrs   Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                              Document      Page 46 of 64


                                    Schedule 4.3
                              Leases of Included Assets

                                        None.




                                          8
Case 19-20916-jrs   Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                              Document      Page 47 of 64


                               Schedule 4.6
                    Cure Payments for Executory Contracts
                                        None.




                                          9
Case 19-20916-jrs   Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                              Document      Page 48 of 64


                                Schedule 4.07
                         Location of Closing Inventory

                                 85 Jackson Concourse
                                Pendergrass, GA 30567


                                 5786 Hwy 129 North
                                       Suite N
                               Pendergrass, GA 30567




                                         10
Case 19-20916-jrs     Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54         Desc Main
                                Document      Page 49 of 64


                                  Schedule 4.8(a)
               All Registered and Unregistered Purchased IP Assets

 SIGNATURE SELECT, Reg. No. 4769138 (as licensed to use for IQF chicken wings and other
  chicken parts in packages no smaller than 2.5 lbs) (owned by and licensed from Southeastern
                                            Meats).
 SIGNATURE SELECT, Reg. No. 4610646 (as licensed to use for IQF chicken wings and other
  chicken parts in packages no smaller than 2.5 lbs) (owned by and licensed from Southeastern
                                            Meats).
SMOKEHOUSE DADDY, a common-law, unregistered trademark (application pending with the
                United States Patent and Trademark Office)




                                             11
Case 19-20916-jrs    Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54         Desc Main
                               Document      Page 50 of 64


                               Schedule 4.08(b)
          All Written License Agreements for the Purchased IP Assets
(Trademark License Agreement dated as of November 16, 2018 by and between S.E. Meats, Inc.
 d/b/a Southeastern Meats, an Alabama corporation and Signature Pack, LLC, a Georgia limited
                               liability company attached below)




                                            12
Case 19-20916-jrs   Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54   Desc Main
                              Document      Page 51 of 64




                          Exhibit “2” follows
Case 19-20916-jrs       Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54           Desc Main
                                  Document      Page 52 of 64




                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                 GAINESVILLE DIVISION

    IN RE:
                                                            CHAPTER 11
    SIGNATURE PACK, LLC,
                                                            CASE NO. 19-20916-JRS
             Debtor.

      ORDER APPROVING MOTION OF THE DEBTOR FOR ENTRY OF ORDER
    PURSUANT TO 11 U.S.C. §§ 105, 363, AND 365 APPROVING (A) EXECUTION OF
     ASSET PURCHASE AGREEMENT AND (B) SALE OF CERTAIN ASSETS TO
                           VISIONARY FOODS,LLC.

        This matter is before the Court on the Motion of the Debtor for Entry of Order Pursuant to

11 U.S.C. §§ 105, 363, and 365 Approving (A) Execution of Asset Purchase Agreement and (B)

Sale of Certain Assets to Visionary Foods LLC. (Doc. No. ___) (the “Sale Motion1”), Debtor’s

related motion to assume and assign certain executory agreements related to intellectual property



1
 Terms not defined in this Order shall be given the meaning defined in the Sale Motion (Doc. No.
___).


                                                1
Case 19-20916-jrs       Doc 154      Filed 01/14/20 Entered 01/14/20 17:10:54             Desc Main
                                    Document      Page 53 of 64


to Visionary Food, LLC. (Doc. No. ___) (the “Assignment Motion”)2 and Debtor’s Motion to

Approve Settlement Agreement With JSO3 (the “JSO Motion”) (the Sale Motion, the Assignment

Motion and the JSO Motion, collectively, shall be referred to as the “Motions”).

       A hearing on the Motions was held on January ___, 2020 (the “Hearing). Leslie Pineyro

appeared on behalf of the Debtor.

       Based upon the statements and arguments of counsel present at the Hearing and upon the

Court’s review of the record in this case, including without limitation the Motions and upon

consideration of the statements and arguments of counsel and proffer of evidence presented at the

Hearing, and there being good, sufficient and timely notice of the Motions and the related hearings

to all parties in interest, and after due deliberation and there being good cause for the relief sought

through the Motions, the Court hereby FINDS and ORDERS as follows:

       The Court hereby FINDS as follows:

       A. The Court has jurisdiction over the Motions and the transactions contemplated

           therein pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core proceeding

           pursuant to 28 U.S.C. § 157(b)(2)(A) and (N). Venue of this case and the Motions

           in this district is proper under 28 U.S.C. §§ 1408 and 1409.

       B. The statutory predicates for the relief sought in the Sale Motion are Sections 105,

           363, 365, and 1146(c) of 11 U.S.C. §§ 101 et. seq. (as amended, modified or

           supplemented, the “Bankruptcy Code”), and Bankruptcy Rules 2002, 6004, 6006,

           and 9014.


2
  Separate Orders have or will be entered on the Assignment Motion and Settlement Motion and
shall be construed together with this Order. Such Orders are incorporated into this Order as if
restated verbatim herein.
3
  The JSO Motion seeks approval of the JSO Settlement as defined in the JSO Motion.


                                                  2
Case 19-20916-jrs    Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54           Desc Main
                                Document      Page 54 of 64


      C. A reasonable opportunity to object or be heard with respect to the Motions and

         the relief requested therein has been afforded to all interested persons and

         entities.

      D. The Debtor has exercised sound business judgment in choosing to proceed with a

         Sale in accordance with the APA.

      E. The Debtor has all of the power and authority necessary to consummate the Sale.

      F. The Debtor has demonstrated and proven to the satisfaction of this Court good,

         sufficient, and sound business purpose and justification for the Sale and the other

         transactions contemplated by the related documents necessary to consummate the

         Sale to Visionary Foods, LLC. (“Buyer”), including without limitation a bill of sale

         for the certain Assets, assignment documents and other documents required to

         consummate the Sale (collectively, the “Sale Documents”) pursuant to Section

         363(b) of the Bankruptcy Code.

      G. The consideration provided by Buyer for the Sale of the Assets, including the

         Purchase Price, (i) is fair and reasonable, (ii) is the highest and best offer for the

         Assets, and (iii) will provide a greater recovery for the Debtor's creditors than would

         be provided by any other practical, available alternative.

      H. The proposed sale of the Assets and associated transactions are in the best interests

         of the Debtor, its estate and its creditors.

      I. The entry of this Sale Order and the approval of the sale of the Assets pursuant to

         the APA and the Sale Documents, pursuant to Sections 363(b), 363(f), and 365 of

         the Bankruptcy Code, are necessary and appropriate to maximize the value of




                                               3
Case 19-20916-jrs    Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54           Desc Main
                                Document      Page 55 of 64


         the Debtor's estate.

      J. The transfer of the Assets to Buyer pursuant to the Sale contemplated by the

         APA will be a legal, valid, and effective transfer of the Assets, and will vest

         Buyer with all right, title, and interest of the Debtor to the Assets free and clear

         of all liens, claims, rights, interests and encumbrances of any kind or nature

         whatsoever, including but not limited to, those (i) that purport to give to any

         party a right or option to effect any forfeiture, modification, right of first refusal,

         or termination of the Debtor’s or Buyer’s interest in the Assets, or any similar

         rights; (ii) relating to taxes arising under, out of, in connection with, or in any

         way relating to the Assets prior to the Closing; and (iii) (A) all mortgages, deeds

         of trust, security interests, conditional sale or other title retention agreements,

         pledges, liens, judgments, demands, encumbrances, rights of first refusal, or

         charges of any kind or nature, if any, including, but not limited to, any restriction

         of the use, transfer, receipt of income or other exercise of any attributes of

         ownership, and (B) all debts arising in any way in connection with any

         agreements, acts, or failures to act, of the Debtor, obligations, liabilities,

         demands, guaranties, options, rights, contractual or other commitments,

         restrictions, interests, and matters of any kind and nature, whether known or

         unknown, contingent or otherwise, whether arising prior to or subsequent to the

         commencement of these cases pursuant to Chapter 11 of the Bankruptcy Code, and

         whether imposed by agreement, understanding, law, equity or otherwise, including

         but not limited to claims otherwise arising under doctrines of successor liability

         (collectively, the “Interests”).


                                              4
Case 19-20916-jrs        Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54             Desc Main
                                   Document      Page 56 of 64


       K. Buyer would not consummate the transactions contemplated by the APA and Sale

            Documents, thus adversely affecting the Debtor, its estate, and its creditors, if the

            Sale of the Assets to Buyer were not free and clear of all Interests of any kind or

            nature whatsoever, or if Buyer would, or in the future could, be liable for any of the

            Interests.

       L. The Debtor may sell the Assets to Buyer under the terms of the APA and Sale

            Documents free and clear of all Interests of any kind or nature whatsoever because,

            in each case, one or more of the standards set forth in Section 363(b)(1)-(5) of the

            Bankruptcy Code has been satisfied;

       M. Those non-debtor parties with claims or Interests in the Assets who did not object,

            or who withdrew their objections, to the Sale, or any of the Motions are deemed to

            have consented to the Sale to Buyer pursuant to Sections 363(b)(2) of the

            Bankruptcy Code;

       N. The transfer of the Assets to Buyer and the related transactions are exempt under

            Section l146(c) of the Bankruptcy Code from any documentary, transfer, stamp,

            sales, use or similar tax or any so- called “bulk-sale” law in all necessary

            jurisdictions related to the Sale and transfer of the Assets to Buyer; and

       O. Time is of the essence in closing the Sale.

       For all of the foregoing reasons, and after due deliberation, the Court ORDERS,

ADJUDGES, AND DECREES THAT:

       1.      The Sale Motion is GRANTED, as further described herein.

       2.        The Sale and all of the terms and conditions thereof and all related transactions

are hereby approved in all respects.


                                                5
Case 19-20916-jrs     Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54          Desc Main
                                 Document      Page 57 of 64


       3.      Pursuant to Section 363(b) of the Bankruptcy Code, the Debtor is authorized

to perform its obligations under, and comply with the terms of the Sale and consummate the

Sale and the related transactions, pursuant to, and in accordance with, the terms and conditions

of the APA and Sale Documents.

       4.      In consideration of the Assets, and upon the terms of the APA, Buyer shall pay

the consideration contemplated thereunder.

       5.       The Debtor is authorized to execute and deliver, and empowered to perform

under, consummate, and implement under the Sale Documents, together with all additional

instruments and documents that may be reasonably necessary or desirable to implement the

Sale and to take all further actions as may be reasonably requested by Buyer for the purpose

of assigning, transferring, granting, conveying, and conferring to Buyer or reducing to

possession, the Assets, or as may reasonably be necessary or appropriate to the performance

of the obligations as contemplated by the Sale as consummated through the Sale Documents.

       6.       This Sale Order and the Sale Documents shall be binding in all respects upon

all creditors (whether known or unknown) of the Debtor, all successors and assigns of Buyer,

the Debtor, and its affiliates and subsidiaries, the Assets, and any subsequent trustee(s)

appointed in the Debtor’s Chapter 11 case or upon a conversion thereof to Chapter 7 under the

Bankruptcy Code and shall not be subject to rejection.

       7.       Nothing contained in any Chapter 11 plan confirmed in this bankruptcy case

or in the confirmation order confirming any such Chapter 11 plan, any order converting this

case to Chapter 7, or any order dismissing this case shall conflict with or derogate from the

provisions of the Sale, the Sale Documents or this Sale Order.




                                               6
Case 19-20916-jrs      Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54            Desc Main
                                 Document      Page 58 of 64


         8.     The Sale Documents and any related agreements, documents, or other

instruments may be modified, amended, or supplemented by the parties thereto in accordance

with the terms thereof without further order of the Court; provided that any such modification,

amendment, or supplement is not material and does not adversely affect the Debtor's estate or

Buyer.

         9.     Except as expressly permitted or otherwise specifically provided for in the

Sale Documents or this Sale Order, pursuant to Sections 105(a) and 363(f) of the Bankruptcy

Code, the Assets shall be transferred to Buyer at, and subject to and conditioned upon, the

Closing, and upon Closing shall be, free and clear of all Interests of any kind or nature

whatsoever.

         10.    Except as expressly permitted or otherwise specifically provided by the Sale

Documents or this Sale Order, all persons and entities, including, but not limited to, all debt

security holders, governmental, tax, and regulatory authorities, lenders, employees, trade, and

other creditors holding Interests of any kind or nature whatsoever against or in the Debtor or

the Assets (whether legal or equitable, secured or unsecured, matured or unmatured, contingent

or non-contingent, senior or subordinated), arising under, out of, in connection with, or in any

way relating to, the Debtor, the Assets, the operation of the Business prior to the Closing, or

the transfer of the Assts to Buyer, are forever barred, estopped, and permanently enjoined from

asserting any such claims against Buyer, its successors or assigns, its property, or the Assets,

such persons’ or entities’ Interests, subject to the rights of non-debtor parties to the Contracts

and Leases to be assumed and assigned pursuant to the Sale Documents.

         11.    The consideration provided by Buyer for the Assets pursuant to the Sale




                                                7
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54          Desc Main
                                   Document      Page 59 of 64


Documents shall be deemed to constitute reasonably equivalent value and fair consideration

under the Bankruptcy Code and under the laws of the United States, any state, territory,

possession, or the District of Columbia and is fair and reasonable and may not be avoided

under Section 363(n) of the Bankruptcy Code.

        12.      This Sale Order shall be: (a) effective as a determination that, on the Closing,

all Interests of any kind or nature whatsoever existing as to the Debtors or the Assets prior to

the Closing (other than the interests of non-debtor parties under the Contracts and Leases

assumed and assigned at Closing) have been unconditionally released, discharged, and

terminated, and that the conveyances described herein have been effected; and (b) binding

upon and shall govern the acts of all entities including without limitation, all filing agents,

filing officers, title agents, title companies, recorders of mortgages, recorders of deeds,

registrars of deeds, administrative agencies, governmental departments, secretaries of state,

federal, state, and local officials, and all other persons and entities who may be required by

operation of law, the duties of their office, or contract, to accept, file, register, or otherwise

record or release any documents or instruments, or who may be required to report or insure

any title or state of title in or to any of the Assets.

        13.      This Court retains jurisdiction to enforce and implement the terms and

provisions of this Sale Order and the Sale Documents, along with all amendments thereto, any

waivers and consents thereunder, and of each of the agreements executed in connection

therewith in all respects, including, but not limited to, retaining jurisdiction to: (a) compel

delivery of the Assets to Buyer or performance of other obligations of Debtor under the Sale

Documents, subject to the terms and conditions of the Sale Documents; (b) resolve any

disputes arising under or related to the Sale Documents, except as otherwise provided therein,


                                                   8
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                   Document      Page 60 of 64


and (c) interpret, implement, and enforce the provisions of this Sale Order, however, in the

event the Court abstains from exercising or declines to exercise such jurisdiction with respect

to the Sale Documents or this Sale Order, such abstention, refusal, or lack of jurisdiction shall

have no effect upon, and shall not control, prohibit, or limit the exercise of jurisdiction of any

other court having competent jurisdiction with respect to any such matter.

        14.      The transactions contemplated by the Sale and by the Sale Documents are

undertaken by Buyer in good faith, as that term is used in Section 363(m) of the Bankruptcy

Code, and accordingly, the reversal or modification on appeal of the authorization provided herein

to consummate the Sale shall not affect the validity of the Sale of the Assets to Buyer (including

the assumption, assignment, and sale of any of the Contracts and Leases), unless such authorization

is duly stayed pending such appeal. Accordingly, Buyer is a purchaser in good faith of the Assets

and is entitled to all of the protections afforded by Section 363(m) of the Bankruptcy Code.

        15.      The terms and provisions of the Sale, the Sale Documents and this Sale Order shall

be binding in all respects upon, and shall inure to the benefit of, the Debtor, its estate, and its

creditors; Buyer, and its respective affiliates, successors, and assigns; and any affected third parties

including, but not limited to, all persons asserting an Interest in the Assets to be sold to Buyer

pursuant to the Sale Documents, notwithstanding any subsequent appointment of any trustee(s),

party, or entity, or other fiduciary under any section of any chapter of the Bankruptcy Code or, as

to which trustee(s), party, entity, or other fiduciary such terms and provisions likewise shall be

binding.

        16.      The failure to specifically include any particular provisions of the Sale Documents

in this Sale Order shall not diminish or impair the effectiveness of such provision, it being the intent

of the Court that the Sale Documents be authorized and approved in their entirety.



                                                   9
Case 19-20916-jrs      Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54           Desc Main
                                  Document      Page 61 of 64


       17.       The transfer of the Assets is a transfer pursuant to Section 1146(c) of the

Bankruptcy Code, and accordingly, the transfer of the Assets (including without limitation,

both real and personal property) to Buyer does not and will not subject the Debtor or Buyer,

their respective affiliates, or designees to any liability for any documentary, transfer, stamp,

sales, use or similar tax or any so-called “bulk-sale,” to the fullest extent permitted by Section

1146(c) of the Bankruptcy Code. Each and every federal, state, and local government agency

or department that was served with the Sale Motion or notice thereof is directed to accept any

and all documents and instruments necessary and appropriate to consummate the transfer of

any of the Assets, all without imposition or payment of any stamp tax, transfer tax, or similar

tax.

       18.      As provided by Bankruptcy Rule 7062, this Order shall be effective and

enforceable immediately upon entry. Time is of the essence in closing the transactions

contemplated by the Sale Documents, and the Debtor and Buyer intend to close the Sale and

related transactions as soon as possible.

       19.     Notwithstanding anything to the contrary herein or otherwise, and pursuant to

the Order authorizing the employment of James B. Ardrey (Doc. No. 116), Debtor shall be

authorized to pay at Closing the $200,000 Sale Transaction Fee (the “Ardrey Fee”) directly to

Ardrey out of the gross proceeds of the Purchase Price.

       20.     Debtor shall be authorized to utilize the Sale Proceeds generated from the Purchase

Price to pay obligations as follows:

                (a) such amount as is necessary to pay off the Renasant secured claim;

                (b) the Ardrey Fee;

                (c) the amount necessary to pay off the JSO Settlement;


                                               10
Case 19-20916-jrs     Doc 154    Filed 01/14/20 Entered 01/14/20 17:10:54           Desc Main
                                Document      Page 62 of 64


             (d) Customary closing costs attributable to Debtor as seller; and

             (e) All net proceeds remaining thereafter to be held in the IOLTA Trust Account

                 of Debtor’s counsel, Jones & Walden, LLC until further order of the Court.

       21.   Any monies collected or received by Debtor from the Excluded Assets, including

             the collection of any accounts receivable, shall be paid to the IOLTA Trust

             Account of Debtor’s counsel, Jones & Walden, LLC, for use in accordance with

             the terms of this Order or until further order of the Court.

       22.   The following items may be paid from funds collected by Debtor or held in trust

             in Jones & Walden, LLC’s IOLTA Trust Account without further order of the

             Court:

             (a) Any quarterly fees due and payable to the United States Trustee;

             (b) Payroll for Debtor’s payroll obligations incurred prior to the Closing and

                 associated payroll taxes and benefits payments;

             (c) Any insurance that comes due regarding any Excluded Assets or otherwise

                 necessary for the winding down of Debtor’s operations, or amounts owed for

                 insurance prior to the Closing; and

             (d) The amounts reasonably necessary for retention or hiring of persons to finalize

                 Debtor’s books and records and assist in the winddown of Debtor’s finances

                 and business subject to the maximum gross amount of $2,500 per week for up

                 to a total of $15,000.00, inclusive of employee payroll obligations, plus the

                 associated amount of employer payroll obligations for such services.

             (e) Any amount necessary to destroy or dispose of any unusable or unserviceable

                 product.




                                             11
Case 19-20916-jrs      Doc 154      Filed 01/14/20 Entered 01/14/20 17:10:54         Desc Main
                                   Document      Page 63 of 64


        23.    Notwithstanding Bankruptcy Rule 6004 or otherwise, this Order shall be effective

               immediately on entry and any stay of this Order is waived so that Debtor and Buyer

               may close the sale contemplated herein immediately upon entry of this Order and

               the Sale Proceeds shall be disbursed as stated herein immediately upon closing of

               the sale.

                                       ~END OF ORDER~

Order prepared and presented by:

/s/ Leslie M. Pineyro
Leslie M. Pineyro
Georgia Bar No. 969800
Thomas T. McClendon
Georgia Bar No. 431452
Jones & Walden, LLC
21 Eighth Street, NE
Atlanta, Georgia 30309
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Attorneys for Debtor




                                              12
Case 19-20916-jrs       Doc 154     Filed 01/14/20 Entered 01/14/20 17:10:54               Desc Main
                                   Document      Page 64 of 64


                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                GAINESVILLE DIVISION

 IN RE:
                                                         CHAPTER 11
 SIGNATURE PACK, LLC,
                                                         CASE NO. 19-20916-JRS
          Debtor.

                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 14, 2020, the foregoing Motion of the Debtor for Entry of Order
Pursuant to 11 U.S.C. §§ 105, 363, and 365 Approving (A) Asset Purchase Agreement and (B) Sale of
Certain Assets to Visionary Foods LLC was electronically filed using the Bankruptcy Court’s
Electronic Case Filing program, which sends notices of and accompanying links to the Motion to the
following parties who have appeared in these cases under the Bankruptcy Court’s Electronic Case
Filing Program:

    •   Griffin B. Bell gbb@gb3pc.com, dts@gb3pc.com;admin@gb3pc.com
    •   Frederic S. Beloin fbeloin@beloinlaw.com, jkuhar@beloinlaw.com
    •   Sam G. Bratton sbratton@dsda.com, kstratton@dsda.com;dbkirk@dsda.com
    •   David A. Garland dgarland@mcdr-law.com, dgarland@mcdr-law.com;hjohnson@mcdr-
        law.com
    •   Lee B. Hart lee.hart@nelsonmullins.com, ayo.uboh@nelsonmullins.com
    •   Sean C. Kulka sean.kulka@agg.com
    •   Leah Fiorenza McNeill Leah.Fiorenza@bclplaw.com, b.lyle@bclplaw.com
    •   Office of the United States Trustee ustpregion21.at.ecf@usdoj.gov
    •   Stephan A. Ray sray@mcdr-law.com, hjohnson@mcdr-law.com
    •   Michael D. Robl michael@roblgroup.com
    •   Andres H. Sandoval andres.sandoval@usdoj.gov,
        charlie.cromwell@usdoj.gov;Larissa.selchenkova@usdoj.gov
    •   Shayna M. Steinfeld shayna@steinfeldlaw.com
    •   Thomas R. Walker thomas.walker@fisherbroyles.com
    •   David S. Weidenbaum david.s.weidenbaum@usdoj.gov
    •   David A. Wender david.wender@alston.com

               This 14th day of January, 2020.
                                                       JONES & WALDEN, LLC
                                                       /s/ Leslie M. Pineyro
                                                       Leslie M. Pineyro
                                                       Georgia Bar No. 969800
                                                       Attorney for Debtor
                                                       21 Eighth Street, NE
                                                       Atlanta, Georgia 30309
                                                       (404) 564-9300
                                                       lpineyro@joneswalden.com
